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Exhibit 3
Case 3:12-cv-04947-MAS-LHG

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** HIGHLY CONFIDENTIAL **

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Civil Action No. 3:12-cv-04947-MAS-LHG

NATIONAL COLLEGIATE ATHLETIC ASSOCIATION,
an unincorporated association; NATIONAL
BASKETBALL ASSOCIATION, a joint venture;
NATIONAL FOOTBALL LEAGUE, an unincorporated
association; NATIONAL HOCKEY LEAGUE, an
unincorporated association; and OFFICE OF
THE COMMISSIONER OF BASEBALL, an
unincorporated association doing business
as MAJOR LEAGUE BASEBALL,

Plaintiffs,
~against-

CHRISTOPHER J. CHRISTIE, Governor of the
State of New Jersey; DAVID L. REBUCK,
Director of the New Jersey Division of
Gaming Enforcement and Assistant Attorney
General of the State of New Jersey; and
FRANK ZANZUCCKI, Executive Director of
the New Jersey Racing Commission,

Defendants.

200 Park Avenue
New York, New York

November 5, 2012
10:15 a.m.

30{(b) (6) DEPOSITION OF
NATIONAL FOOTBALL LEAGUE
and its Representative
LAWRENCE P. FERAZANI, JR.

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30{(b} (6) DEPOSITION OF NATIONAL
FOOTBALL LEAGUE and its Representative
LAWRENCE P. FERAZANI, JR., taken by the
Defendants, pursuant to Notice, held at
the aforementioned time and place, before
Sherri Flagg, a Registered Professional
Reporter, Certified LiveNote Reporter,

and Notary Public.

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Page 3

APPEARANCES:

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Page 4

LAWRENCE P. FERAZANI, JR,
first duly sworn/affirmed, was
examined and testified as follows:

EXAMINATION BY

MR. SIGLER:

Q. Good morning, Mr. Ferazani. My
name is Jeff Sigler. I'm with Gibson Dunn &
Crutcher. I'm defense counsel in this case.
You understand that you're here to testify in
the case NCAA versus Christie, correct?

A. Yes, I do.

Q. And you are here as a
representative of the NFL?

A. Yes.

Q. You understand that the NFL is a
Plaintiff in the case?

A. Yes.

°. What is your position at the NFL,

Mr. Ferazani?

A. My title is senior labor litigation
counsel.

Q. What are your job responsibilities?

A. I ama member of the legal

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI

Q. How long have you been in your
current role?

A. Just over five years. Well,
been with the League for just over five
i started as a labor relations counsel,
recently promoted.

Q. So how long have you been in your

current position?

A. Since March of this year.

Q. You've been at the NFL since
sometime in 2007?

A. That's correct, roughly October
2007.

Q. And when you started at the NFL in

October of 2007, were you in a position of
labor relations counsel?

A. That's correct.

QO. What were your responsibilities as

labor relations counsel?

A. Not much different from my
responsibilities as -- my present position.
I -- when I came into the League, obviously I

started primarily focused on grievance process

and litigation involving players under the

 

 

 

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1 HIGHLY CONFIDENTIAL - L. FERAZANI i
2 department. Generally I represent the League 2
3 and its member clubs and actions under the CBA 3
4 and generally against our union having 4
5 everything to do with the grievance process, 5
6 the conduct and steroid and drug policies. 6
7 But I also serve as liaison for outside 7
8 litigation. Part of the duties under the 8
9 policies I'm also responsible for are gamb 9
10 policy. 10
1. Q. And you said something about the il
12 CBA, That's the collective bargaining 12
13 agreement with the NFL Players Association? 13
14 A. That's correct, yes. 14
15 Q. And as liaison for outside 15
16 litigation, does that encompass litigation not 16
417 just for labor-related matters but also other 17
18 litigation for the NFL? 18
19 A. Yes. For example, the bounty-gate 19
20 cases, the concussion litigation and this 20
21 case. 21
22 Q. And, Mr. Ferazani, you mentioned 22
23 that you have responsibility for the NFL's 23
24 gambling policy. Is that the policy with 24
25 respect to player conduct? 25
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1 HIGHLY CONFIDENTIAL - L. FERAZANT 1
2 A. That's correct. 2
3 Q. Do you have any other 3
4 responsibilities that relate to gambling? 4
5 A. Not that I think of, as I sit here 5
6 today. The gambling policy, just to be clear, 6
7 also encompasses League employees, ownership 7
8 as well, 8
9 Q. Do you have responsibility relating 9
10 to infractions of the gambling policy? 10
il A. Yes. il
12 Q. So if a player or a League employee 12
13 or an official violates the policy, that would 13
14 fail into your area? 14
15 A. Yes. The Commissioner ultimately 15
16 would issue a discipline and if there's a 16
17 challenge to the discipline, I would represent 17
18 the League in a hearing to determine if the 18
19 discipline was warranted. 19
20 Q. Who do you report to? 20
21 A. Ultimately Jeff Pash and 21
22 Commissioner Godell. Jeff Pash is the general 22
23 counsel for the National Football League. In 23
24 between Mr. Pash and myself, I also report to 24
25 Adolpho Birch and Dennis Curran. 25

 

 

 

HIGHLY CONFIDENTIAL - L. FERAZANI

collective bargaining agreement. I also
shortly thereafter started to represent the
League in its -- in hearings involved or
arising under the conduct policy and the drug
and steroid policies.

Q. Have your responsibilities included
the gambling policy the entire time you've
been at the NFL?

A. No. The gambling policy was added
with the new position in March of this year.
Q. Okay. So your responsibilities
relating to the gambling policy started in
March of this year and it continued through

the present?

A. Correct.

Q. Mr. Ferazani, do you have job
responsibilities that relate to NFL.com?

A. I do not.

Q. And NFL.com is owned by the NFL,
correct?

A. Yes.

Q. Is there a separate legal
department for NFL.com?

A. No. Their legal department

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HIGHLY CONFIDENTIAL - L. FERAZANI
generally has two sides: the game side which
is the old management counsel, which is the
group that I'ma part of; and then the
business side, which was the old traditional
legal department.

Obviously, the legal department
generally has probably around 15 attorneys so
there's a lot of overlap and consultation.

But NFL.com and the business ventures would be
more in the traditional legal department.

Q. So the business side of the NFL's
legal department service is NFL.com?

A. Generally. NFL.com ~- the folks on
the business side are specialists, you know,
in transactional work, broadcasts, contracts
and the like.

Q. Are employees of NFL.com subject to
the NFL's employee policies?

MR. DREYER: Objection to the form
of the question, assumes facts not in
evidence. You can answer.

A. Yes, generally.

Q. Do your job responsibilities

include any responsibilities relating to the

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HIGHLY CONFIDENTIAL ~ L. FERAZANI
A. No.
Q. How long were you an Assistant

United States Attorney?

A. Roughly three-and-a-half years.

Q. So from 2004 through October 20077
A. I think March of 2004 through 2007.
Q. And before you were an Assistant

United States Attorney, what was your
position?
A. I was a special agent of the

Federal Bureau of Investigation.

Q. Where were you located?

A. In New York.

Q. How long did you have that
position?

A. From August of '99 through the time

with the U.S. Attorney's Office.

Q. So as a special agent for the FBI,
did you investigate any gambling-related
cases?

A. I worked generally on organized
crime cases to the extent that those involved
gambling but no specific gambling cases, no.

Q. And what was your position before

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
NFL Network?

A. The NFL Network is a stand-alone
entity. It's owned by the NFL, housed out in
Los Angeles. I've had no interaction with the
NFL Network, but they are within the NFL
umbrella.

Q. Are employees of the NFL Network
subject to the NFL's employee policies?

A. Yes.

Q. Before you joined the NFL in
October of 2007, what was your position?

A. I was Assistant United States

Attorney in the Eastern District of New York.

Q. How long did you have that
position?

A. Roughly three~and-a~half years.

Q. Were you part of a division or

group within that office?

A. I was in the criminal division
while I was there, I was in general crimes,
violent crimes and terrorism, and also the
Long Island division.

Q. Did you investigate or prosecute

any gambling-related cases?

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Page 12

HIGHLY CONFIDENTIAL ~ L. FERAZANI
you became an FBI in agent in August of '997
A. I was an associate at a law firm in

Boston called Burns & Levinson.

Q. How long did you have that
position?

A. It was roughly two years.

Q. What did you do before that?

A. I was an Assistant District

Attorney in the Bronx.

Q. How long did you have that
position?

AL Just under three years.

Q. Did you prosecute or investigate

any gambling-related cases?

A, Not in the Bronx, no.

Q. And what did you do before that?

A. i was in law school.

Q. Where did you go to law school?

A. Suffolk University Law School in
Boston.

Q. Other than your law degree, do you

have any other post-graduate degrees?
A. I do not.

Q. Do you have any special training or

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
identification.)
BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
document marked NFL Exhibit 1. Can you please
review this document and tell me whether you
recognize it.

A. I do.

Q. You recognize this as the notice
summarizing topics on which you're here to
testify about today, correct?

A. I do.

Q. And if you could turn with me,
please, to pages 4 and 5 of the document, do
you see that it lists five topics numbered 1
through 5 on pages 4 and 5?

A. I do.

Q. And are you prepared to testify
today as the NFL's designee on each of these
five topics?

A. Iam.

Q. And you understand that this means
you must testify about information known or
reasonably known to the NFL on these topics,

correct?

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HIGHLY CONFIDENTIAL ~ L. FERAZANI

A. That's correct.

Q. What did you do to prepare for your
deposition here today, Mr. Ferazani?

A. Well, I met with counsel, discussed
the topics that were covered by the 30{b) (6)
notice, reviewed various documents including
our submissions in the case, reviewed our
gambling policy generally.

Q. Anything else?

A. Spoke with certain individuals

regarding information about the gambling

policy.
Q. Who did you speak with?
A Adolpho Birch.
Q. What is Adolpho Birch's position?
A He is a senior vice president and I

don't know the exact title but he oversees all
of the policies -~ the drug, steroid. He was
the person who used to be responsible for the
gambling policy.

Q. So Adolpho Birch had responsibility
for the gambling policy before you took over
responsibility for it in March of this year?

A. That's correct.

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Page 13
1 HIGHLY CONFIDENTIAL ~ L. FERAZANI
2 education in gambling?
3 A. No.
4 Q. Have you ever conducted research on
5 gambling?
6 A. No.
7 Q. Have you ever written any papers or
8 analyses on gambling?
9 A. No.
16 QO. Mr. Ferazani, I'm guessing you have
il been deposed before?
12 A. Shockingly, no.
13 Q. Really?
14 A. I've been very fortunate up until
15 now.
16 Q. This is your first deposition?
17 A. The first, yes. I've testified in
18 criminal cases, but I've never been deposed.
19 Q. How many times have you testified
20 in court?
24 A. Twice.
22 Q. And was that when you were an FBI
23 agent?
24 A. Yes.
25 Those were criminal cases?
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Page 14
1 HIGHLY CONFIDENTIAL - L. FERAZANI
2 A. Yes, they were.
3 Q. Well, Mr. Ferazani, you understand
4 that you're testifying here today under oath
5 just as if you were testifying in court,
6 correct?
7 A. Yes, I do.
g Q. And I'm sure Mr. Dreyer's explained
9 this to you, but just to be clear, we need to
19 make sure that we are making a clear record
ii here for the court reporter. So we're going
12 to try to talk as slowly as possible and
13 please make sure you understand the question
14 that I ask before you answer the question.
15 Okay?
16 A. Yes.
iy Q. Now, Mr. Ferazani, you understand
16 that you're here today as the NFL's
139 representative to testify on certain topics
20 relevant to this case, correct?
21 A. Yes.
22 Q. Have you ever served as -- strike
23 that.
24 (Exhibit 1: 30(b) (6) Notice of
25 Deposition, was marked for
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1 HIGHLY CONFIDENTIAL - L. FERAZANI
2 Q. Is Adolpho Birch in the legal
3 department?

4 A. He is.

5 Q. So you spoke to Mr. Birch about the
6 gambling policies?

Correct.

Bid you speak to him about anything

10 A. No.

il Qo What did you learn from Mr. Birch?
12 MR. DREYER: I think we're

13 potentially getting into privileged areas
14 here. So with respect to facts that were
15 not discussed for purposes of rendering
16 or receiving legal advice, that’s

17 permissible. And I think you know the

18 grounds for privilege but just I want to
19 refresh them.

20 So I just want to instruct the

21 witness not to disclose any attorney-

22 client communication.

23 Q. Let me ask a question that might

24 cut through this. When you spoke to

25 Mr. Birch, were you speaking with him in

 

Page 17

1 HIGHLY CONFIDENTIAL - L. FERAZANI

2 There was an absolute prohibition. Where

3 those policies appeared were in different

4 documents, so what we did was in August there
5 was one gambling policy where you found all

6 the information for one-stop shopping or

7 one-stop review, I guess.

8 Q. Did you speak to Mr. Birch about
9 anything else?

10 A. No.

li QO. Other than Mr. Birch, did you speak

12 to anyone else in preparation for this

13 deposition, other than counsel?

14 A. I spoke with Doug Palletti.
15 Q. Thank you. Who is Mr. Palletti?
16 A. Doug Palletti is a lawyer on the

17 business side of the legal department.
18 Qo. And did you speak to Mr. Palletti
19 to get legal advice or in preparation for the
20 deposition?
21 A. In preparation for the deposition.
22 Q. And what did you learn from

23 Mr. Palletti?

24 MR. DREYER: Same instruction as to

25 any potential privileged conversations.

 

 

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1 HIGHLY CONFIDENTIAL - L. FERAZANI

2 preparation for this deposition or to get
3 legal advice?

4 A. For this deposition.
5 Q. What did you speak to Mr. Birch

6 about?

7 MR. DREYER: Same instruction. You
8 can answer.
9 A. Generally just reviewing the

10 timeline by which the gambling policy was
11 brought under one umbrella. There's one

12 gambling policy that applies for ownership,
13 players, employees and advertising.

14 Q. And what is that timeline?
15 A. It was brought under one umbrella
16 i believe in August of this year.

17 Q. So before August of this year,

18 there were separate policies for players and
19 owners; and as of August of this year, there's

20 one single gambling policy?

at A. No.

22 MR. DREYER: Object to the form of
23 the question. You can answer.

24 BA, Sorry. No, the policies from the

25 Constitution and Bylaws were always the same.

 

Page 18

1 HIGHLY CONFIDENTIAL - L. FERAZANI
2 You can answer.
3 A. With Mr. Palletti I asked and

4 attempted to glean a timeline by which the

5 sponsorship amendments have been passed

6 regarding advertising with regard to gambling,
7 lotteries, et cetera.

8 Q. When you said "sponsorship

9 amendments," what did you mean by that?
10 A. The League, in 2007 I believe,
1i authorized state lotteries sponsorship with
12 certain restrictions, including a lottery's
13 not allowed to have a sports gambling

14 component to it.

15 Q. So the amendments you referred to
16 were amendments to the NFL's bylaws?

17 A. They were.
is Q. Did you speak to Mr. Palletti about
13 anything else?

20 A. No.

21 Q. Did you speak with anyone else in
22 preparation for your deposition today?

23 A. No, other than counsel.

24 Q. Did you speak to anyone in the

25 NFL's marketing or research groups in

 

 

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Page 21
1 HIGHLY CONFIDENTIAL - L. FERAZANI
2 preparation for the deposition today?
3 A. Not in preparation for the
4 deposition today, no.
5 Q. Have you spoken to people in the
6 NFL's marketing or research groups at all in
7 connection with this litigation?
8 A. Yes, I have.
9 Q. For what purpose did you speak to
10 them?
il A. Por the document production,
12 Q. So you spoke to them in connection
13 with gathering documents to produce in the
14 case?
15 A. That's correct.
16 Q. Were you responsible, Mr. Ferazani,
17 for gathering documents responsive to our
18 document requests in the case?
19 A. Yes, I was.
20 Q. And did you turn documents you
21 received from the marketing and research group
22 over to counsel at Skadden Arps?
23 A. I did.
24 Q. Mr. Ferazani, did you speak to
25 Roger Godell in preparation for this
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Page 22
L HIGHLY CONFIDENTIAL - L. FERAZANI
2 deposition today?
3 MR. DREYER: You can answer yes or
4 no.
5 A. No.
6 Q. Have you spoken to Mr. Godell at
7 all in connection with this litigation?
8 MR. DREYER: You can answer yes or
9 no.
10 A. Yes.
ll Q. For what purpose did you speak to
12 Mr. Godell?
13 MR. DREYER: Again, I think we're
14 getting to areas of privilege here, given
15 Mr. Ferazani's position as in-house
16 counsel to the NFL. So I would again
17 instruct the witness in answering the
18 question not to disclose the content of
19 any attorney-client communication.
20 A. Primarily -~ well, our conversation
21 was to discuss scheduling this deposition and
22 explaining why he was being deposed.
23 Q. Other than scheduling this
24 deposition, have you spoken to Mr. Godell at
25 all about this litigation?

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
A. T have not.

Q. Mr. Ferazani, if you could turn to
topic 2 on the list of topics, do you see that
topic 2 concerns the impact or potential
impact of sports gambling on you and your
member teams?

A. Yes,

Q. In connection with this topic, did
you do anything to assure yourself that you'd
reviewed any studies, analyses or surveys in
the NFL's possession on this topic?

A. ft reviewed the documents, several
of the documents that we produced.

Q. You reviewed the studies that the

NFL produced in this litigation about fantasy

football?
A. Yes.
Qo. Does the NFL have any studies in

its possession regarding the impact or
potential impact of sports gambling on the
NFL?

A. The NFL has studied the issue. I'm
not sure what you mean by studies

specifically.

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HIGHLY CONFIDENTIAL - L. FERAZANT

Q. How has the NFL studied the issue?

A. The NFL's primary purpose since its
foundation was to develop our fan loyalties
and increase our brand favorability rating, to
increase ticket sales, attendance, revenues
and viewership ratings. So from the inception
of the League to the present, everything we do
is designed with those principles in mind and
with that goal in mind, to protect the shield.

Q. When you say "protect the shield,"
you're referring to the NFL logo?

A. Right. That's something that's
drilled into you early on as one of your most
important duties as an employee for the
National Football League.

Q. Has the NFL conducted any consumer
surveys or analyses regarding the impact of
sports gambling on the NFL?

A. The NFL has not conducted any such
studies that I'm aware of.

Q. Has the NFL conducted any focus
groups regarding the impact of sports gambling
on the NFL?

A. No, not that I'm aware of.

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HIGHLY CONFIDENTIAL - L. FERAZANI

Q. Has the NFL conducted any studies
or surveys regarding the impact ox potential
impact of legalizing sports gambling in New
Jersey on the NFL?

A. Well, again, going back to the '92
law, my understanding was there were studies
presented to Congress, there was testimony
submitted to Congress including testimony from
the Commissioner of the NFL at the time,
Commissioner Tagliabue, regarding the
detrimental impact that sports gambling would
have generally on the NFL and its interests.

That was corroborated by law
enforcement and I think other scientific
studies that were presented to Congress.
Those studies and the principles behind the
analysis and conclusions of the NFL would
apply to New Jersey or any other state, I
would imagine.

Q. Does the NFL have any studies
regarding the impact or potential impact of
legalizing sports gambling in New Jersey on
the NFL?
form

MR. DREYER: Objection to the

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Page 27

HIGHLY CONFIDENTIAL - L. FERAZANI
discussed in that congressional testimony?

A. We have -- and I've reviewed
Commissioner Tagliabue's testimony and I've
reviewed the legislative history of the law.
I have not reviewed the specific other
documents that were referenced in the
legislative history of the law, but they're
summarized in the legislative history.

Q. So the NFL has the congressional
92 but

testimony that was given in 1991 and

not the underlying studies that were done

correct?
A. I have not seen them, correct.
Q. Mr. Ferazani, a number of the

topics in this deposition notice, as you can

see, concern sports gambling. Correct?
A. That appears to be, yes.
Q. How do you define sports gambling?
A. Gambling on sports?

MR. DREYER: I'm sorry, the

question is vague. Are you referring to

Mr. Ferazani or the NFL? I'm not trying

to coach. I just want to make sure we

have a clear record. When you say "you,"

 

 

 

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of the question. You can answer.
A. Again, I believe that the studies
and the analysis conducted in '92 would apply
to New Jersey. I don't see anything that's

unique or unusual about New Jersey where these
harms would not result from New Jersey passing
a law allowing -~ authorizing sports gambling.

Q. Does the NFL have any of the
studies from 1992 that you're referring to?

AL We have the legislative history
from its passage and we have the testimony
submitted by Commissioner Tagliabue at the
time. We have testimony from the New Jersey
Commissioner of Gambling, and we have the
testimony from the FBI supervisory special
agent who testified in support of PASPA's
passage.

MR. DREYER: And it’s P-A-S-P-A.

Q. And, Mr. Ferazani, you've referred
to various congressional testimony that the
NFL has, correct?

A. Yes.

Q. Does the NFL have any of the

studies or surveys that may have been

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HIGHLY CONFIDENTIAL - L. FERAZANI
I think it's a little vague. You can
answer.

A. The NFL would view this as gambling
on the outcome of our games.

Q. So that’s how the NFL would define
sports gambling?

A, As it pertains to the NFL, yes.

Q. And how do you define gambling?
Strike that.

How does the NFL define gambling?

A. Placing a wager on the outcome of a
specific sporting event in the hopes of
receiving more money in return than what you
wagered.

Q. And you said from the NFL's
perspective, sports gambling would be gambling
on the outcome of games, correct?
MR. DREYER: I think you
But you

mischaracterized the testimony.

can answer.

A. Repeat the question, sorry.
Q. Strike that.
Mr. Ferazani, you said that the NFL

views sports gambling as gambling on the

 

 

 

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making a wager like you first described, I
think that would be a sports gamble or a
sports bet.
Q. And, Mr. Ferazani, is sports
gambling the same thing as sports wagering
from the NFL's perspective?
MR. DREYER:

Objection to the form

of the question. You can answer.

A. As I sit here, I can't think of a
distinction.
Q. Tocantt either. So for our

purposes today, if I say sports wagering or
sports gambling, I mean the same thing, okay?

A, Fair enough.

Q. Mr. Ferazani, some sports gambling
is legal and some is illegal, correct?

MR. DREYER: Objection to the form
of the question. You can answer.

A. There's -- in Nevada, there's
sports gambling that is legal by operation of
PASPA. There's certain states that have
limited and specific types of wagers on
athletic contests that is legal. If you want

to expand the definition of sports to horse

 

 

 

 

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i HIGHLY CONFIDENTIAL - L. FERAZANI
2 outcome of the NFL's games, correct?
3 A. As 4 broad overview of that
4 definition. I'm sure it certainly encompasses
5 other subsets of the game, but that is a broad
6 definition of what sports gambling is to us.
7 Q. Would sports gambling include
8 gambling on a particular player's statistics
9 in an individual game?
10 MR. DREYER: Objection, incomplete
il hypothetical. You can answer.
12 A. I'm not sure how that would appear.
13 Gambling on player's statistics? I'm lost as
14 to ~- if you could refine that a bit.
15 Q. If I were to bet you $20 that Tom
16 Brady will throw three touchdowns, is that a
1? sports gamble?
18 A. And you would win more than $20 if
19 you threw three or more and I would have to
20 pay you?
21 Q. If I were to bet you $20 -- so if
22 he throws 20 touchdowns -- or if he throws
23 three touchdowns, I get the $20; if he doesn't
24 throw three touchdowns, you get the $20. Is
25 that a sports gamble?
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1 HIGHLY CONFIDENTIAL - L. FERAZANI
2 A. I believe that would fit that
3 definition, sure.
4 Q. And would gambling on a player's
5 statistics over the course of an entire season
6 constitute sports gambling?
7 MR. DREYER: Same objection. You
8 Can answer,
9 A. Meaning if you bet me that
10 Mr. Brady completed 100 passes in a season,
di you would get $100 and, if not, you'd pay me a
12 hundred dollars?
13 Q. Correct.
14 A. A financial transaction based upon
15 an athletic contest or an individual
16 achievement, I think that would satisfy the
Li definition.
16 Q. So betting on an individual
19 player's statistics throughout the course of a
20 season would constitute sports gambling,
21 correct?
22 A, Again, I'm more comfortable with a
23 more specific example. Betting on statistics
24 generally I'm kind of having a difficult time
25 wrapping my head around. But if you were

 

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racing, Jai Alai and dog racing as PASPA does,
then, yes, there are some that is legal. The
vast majority of sports wagering is illegal.

Q. So some sports gambling is legal
but a vast majority is illegal, correct?

MR. DREYER: Objection, asked and
answered, You can answer.

A. There are different restrictions in
different ways based on sport, geography. But
as I testified, yes, some sports and in some
locations it's legal and some -- the vast
majority of places, it's not legal.

Q. Does the NFL know how much illegal
sports gambling occurs in the United States?

A. I couldn't even guess.

Q. Does the NFL have any studies
analyses or estimates of how much illegal
sports gambling occurs in the United States?

A. I don't know how anyone would have
that. But we don't, no.
Q. Mr. Ferazani, are you familiar with
the National Gambling Impact Study Commission
Report?

A. Is it the one from the late '90s?

 

 

 

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Q. Yes.

A. I believe we produced something
with that definition. If you want me to look
at it, I'd be happy to.

{Exhibit 2: Chapter 2, Gaming in
U.S., was marked for identification.)

MR. DREYER: If you're going to use
this document, I'm going to make an
objection.

MR. SIGLER: Let me just make a
representation before you speak and you
can make your objection. This is an
excerpt from the report which is a very
lengthy document. As you can see, at the
top left-hand corner this is chapter 2 of
the longer document. It also does not
have the Bates stamp at the bottom I see.
But I will represent to you that this is
a copy of chapter 2 from the Gambling
Impact Study Commission Report.

MR, DREYER: Counsel, I appreciate
the representation. But in order to
preserve the record, I'll object to the

use of the document in that it's not been

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produced by either side. We can proceed.

You have my objection.

BY MR. SIGLER {continuing}:

Q. Mr. Ferazani, looking at this
document, is this a portion of the Gambling
Impact Study Commission Report that you are
familiar with from the NFL's files?

A. I think I am familiar with the
subset of this. I don't recall the Figure 21
and 22.

MR. DREYER: And so the record is
clear, the witness is referring to the
figures that appear on page 2-2 on NFL
Exhibit 2.

Q. If you could turn with me, please,
to the page number that has 2-14 in the bottom
right corner, please.

A. Right.

Q. Are you familiar with this page of
the commission report?

A. Let me just read it because I know
that some of the other pages are new to me.
But let me read this.

{Examining document.)

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HIGHLY CONFIDENTIAL - L. FPERAZANI
I am familiar with that page, yes.

Q. When did you see this page of the
Study Commission Report?

A. I believe I first reviewed this
when we were in litigation with Delaware for
their sports lottery, which was a few years
ago.

Q. Does the NFL have a copy of this
Study Commission Report?

A. What I saw, I think, may well be
pages -- as I said, a subset, maybe even --
certainly page 2-14.

Q. So you believe that the NFL has at
least page 2-14 of the commission report in
its files, correct?

MR. DREYER: Objection,
mischaracterizes the witness’ testimony.

You can answer.

A. As I said, I believe I've seen this
page before.

Q. And, Mr. Ferazani, looking at the
left-hand side of the page, the paragraph
toward the bottom that starts with "According

to Russell Guindon"; do you see that

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paragraph?
A. I do.
Q. And do you see the estimate by

Nevada's Gaming Control Board of sports
wagering, $2.3 billion, in Nevada's legalized
sportsbooks in fiscal 1998?

A. I see that, yes.

Q. Does the NFL have a view on whether
that estimate is accurate?

MR. DREYER: Objection, lack of
foundation. You can answer,

A. I have no way to confirm or refute
Mr. Guindon's claim or this report of
Mr. Guindon, G-U-I-N-D-O-N.

Q. Dees the NFL have any different
estimates regarding the amount of sports
wagering in Nevada in fiscal 1998?

A. None.

Q. Does the NFL have any estimates at
all of the amount of sports wagering in
Nevada's legalized sportsbooks for any year?

A. None.

Q. Tf you look on the right side of

the page at the top, do you see the estimate

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of 80 billion to 380 billion annually?

A. I see that estimate.

Q. And do you see that that refers to
an estimate for the scope of illegal sports
betting in the United States?

A. That's what that says, yes.

Q. Is the NFL familiar with that
estimate?

MR. DREYER: Objection to the form
of the question. You can answer

A. Are we familiar in that I've seen
this page before? Yes. I can't tell you if
it's accurate or inaccurate. It's a pretty
massive range.

Q. Boes the NFL have any different
estimates regarding the scope of illegal
sports betting in the United States?

MR. DREYER: Objection as to
foundation. You can answer.

A. And I don't know where this
estimate came from, but the NFL has no other
estimate nor would I know how we would make
such an estimate.

Q. Has the NFL ever cited or relied on

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A. As far as the dollar figures
wagered, as I sit here today, I don't know.

Q. And apart from the dollar figures
wagered, does the NFL monitor the scope of the
legal sports gambling market in Nevada at all?

A. Again, by "scope" ~~ we understand
it exists, we understand that there's -- what
wagers are permitted. I would be guessing if
I told you what the numbers are or how much,
you know, they generate every year.

Q. And the NFL is aware that there is
a substantial illegal sports gambling market
as well, correct?

MR. DREYER: Objection to the form
of the question. You can answer.

A. Are we aware that there's illegal
sports gambling that goes on? Yes. The scope
of that market, as I've said, by its very
nature, I think it would be impossible to
hazard a guess as to how much is wagered in
that way.

QO. And the NFL is aware that, as part
ef that illegal sports gambling market,

persons bet on NFL games, correct?

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this Study Commission Report, to your
knowledge?

A. I believe it's referenced in -~ I’d
like to look at either Commissioner Tagliabue
or Commissioner Godell's statements. I'm not
sure.

Q. Mr. Ferazani, is the NFL aware that
there is a multibillion dollar legal sports
gambling market in Las Vegas?

MR. DREYER: Objection as to
foundation. You can answer.

A. I'm sorry, is the NFL aware that
there is sports gambling in Las Vegas? We're
absolutely aware that there's sports gambling
in Las Vegas in their casinos, as authorized
under PASPA. The dollar value of that we
don't monitor and we don't have studies, we
don't receive reports from the casinos.

Q. So the NFL does not monitor
publicly available information regarding the
scope of the legal sports gambling market in
Nevada?

MR. DREYER: Objection as to

foundation, You can answer.

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MR. DREYER: Objection as to
foundation. You can answer.

A. As part of the illegal sports
gambling -- are people making illegal bets on
NFL games in states in which that is illegal
to do so? We're aware of that, yes.

{Reporter interruption.)

Q. Mr. Ferazani, is the NFL aware
that, as part of the illegal sports gambling
market in the United States, people bet
illegally on NFL games?

MR. DREYER: Same objection as to
foundation. You can answer.

A. Obviously the NFL does not have
first-hand information about people making
illegal bets on NFL games. However, given the
media coverage of arrests for such activity,
we are aware generally that people will make
illegal wagers on NFL games.

Q. Mr. Ferazani, if you could turn
with me, please, back to Exhibit 1 which is
the deposition notice. Do you see that the
first topic listed on page 4 is your alleged

standing to seek relief in this action?

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1 HIGHLY CONFIDENTIAL - L. FERAZANI 1
2 A. Yes. 2
3 Q. Do you know what “standing” is? 3
4 MR. DREYER: Objection to the 4
5 extent it calls for a legal conclusion. 5
6 He can answer as to his understanding. 6
7 A. As to my understanding, yes, I 7
8 believe I have a grasp of this but something I 8
3 did not review until this case. 3
10 Q. Maybe not since law school, right? 10
11 A. Maybe not since law school. That's 11
12 a fair statement. 12
13 Q. What is your understanding of what 13
14 standing is? 14
15 A. As it relates to this case, there's 15
16 probably two components: First is that PASPA, 16
1? in the text of the law, has provided the 17
18 sports leagues -- granted them authorization 18
13 to seek judicial intervention in instances in 19
20 which states seek to violate the law. 20
21 Equally or actually more 21
22 importantly, there's Article III standing 22
23 which is the party needs to have a claim or 23
24 controversy for which they can present to the 24
25 courts independent of or in conjunction with 25

 

 

HIGHLY CONFIDENTIAL - L. FERAZANI

it would be harmed by New Jersey's

legalization of sports gambling, correct?
A. That is correct, yes.
Q. And one of the topics that you're

prepared to testify today relates to that
alleged harm, correct?
A. Yes.
Q. Now, what did you do to
specifically prepare for this topic relating
to standing, topic number 1?

A. I can't say that I can distinguish
topic by topic what I did to prepare for this
deposition. As I said, I generally reviewed
the documents that we produced and met with
counsel, I spoke with the folks that I
indicated, I was involved in the Delaware
litigation, and i've been involved in this
case from the beginning so...

Q. Are there any documents that the
NFL is relying on to support its standing in
this case?

MR. DREYER: Objection as to legal
strategy in the case. The witness is

here to testify as to facts, not legal

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i HIGHLY CONFIDENTIAL - L. FERAZANT 1 HIGHLY CONFIDENTIAL - L. FERAZANT
2 the law. 2 Strategy. So you can answer as best as
3 Q. And, Mr. Ferazani, do you 3 you're able to without disclosing any
4 understand that as part of Article III : 4 attorney-client privilege.
5 standing, the NFL needs to demonstrate that it 5 A. I don't know where to begin on that
6 has been harmed or would be harmed by New 6 one. I know that we produced documents to
7 Jersey's sports gambling law? 7 counsel, I know that they have been working
8 MR, DREYER: Same objection. : 8 diligently on filing papers against your
3 Ultimately the Court will tell us what we : 3 papers and what they’re citing to. I'm not
10 need or don't need. But Mr. Ferazani can 10 sure what documents are more important or less
1. answer as to his understanding. 11 important.
12 A. And, you know, to be entirely 12 (Exhibit 3: Complaint for
13 candid--which I have been from the beginning-- 13 Declaratory & Injunctive Relief, was
14 the interplay between the Article III standing 14 marked for identification.)
16 and the statutorily granted standing is 15 BY MR. SIGLER {continuing}:
16 something that is a little bit unclear to me. 16 Q. Mr. Ferazani, you've been handed a
17 But I understand generally that a scintilla of 17 copy of the document marked Exhibit 3. Please
18 harm must be established or should be 18 feel free to review the entire document. I
13 established or what we're seeking to establish 13 will tell you in advance I will have a couple
20 for purposes of this case. But whether or not 20 of questions that relate specifically to
21 that's required or not, I'm going to defer to 21 paragraphs 5 and 6 on page 3.
22 the much better educated gentleman to my left 22 A. Okay.
23 here. 23 QO. But please feel free to review the
24 QO. And so to be clear, Mr. Ferazani, 24 entire document.
25 you understand that the NFL is alleging that 25 A. I'm familiar with this document.
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1 HIGHLY CONFIDENTIAL - L. FERAZANI
2 Q. What is this document?
3 A. This is the Complaint that we filed
4 against Governor Christie, Mr. Rebuck and
5 Mr. Zanzuccki, Z-A-N~Z-U-C-C-K-I, seeking to
6 stop New Jersey's sports gambling law.
7 Q. Did you review this Complaint
8 before it was filed?
9 A. I did.
10 Q. Did you help prepare this
iL Complaint?
12 MR. DREYER: You can answer yes or
13 no.
14 A. Yes, I guess.
15 How did you help prepare it?
16 MR. DREYER: Counsel, you're
17 getting awfully close to privilege here.
18 Can you give me a proffer as to where
19 you're going with this?
20 MR. SIGLER: I'm just trying to
21 understand his familiarity with the
22 document.
23 MR. DREYER: Just give me a second.
24 In answering --
25 MR. SIGLER: Let me ask a different
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2 question that may avoid the concern.
3 BY MR. SIGLER (continuing):
4 Q. Mr. Ferazani, did you help write
5 any part of this document, the Complaint?
6 A. Not in any true sense, other than
7 everyone reviewed this as it went through.
8 But it was drafted by our outside counsel.
9 Q. Okay. But you approved this
10 Complaint before it was filed, correct?
il A. Yes.
12 Q. Okay. Let's turn to paragraphs 5
13 and 6 on page 3. Are you familiar with these
14 paragraphs?
15 A. Yes, I am.
16 Q. Do these paragraphs accurately
17 summarize the harm that the NFL alleges in
18 this case would result from legalizing sports
19 gambling?
20 MR. DREYER: Objection to the form
21 of the question. You can answer.
22 A. The assertions in paragraphs 5 and
23 6 are accurate, yes.
24 Q. Do paragraphs 5 and 6 in the
25 Complaint summarize all of the harms that the

 

HIGHLY CONFIDENTIAL - L. FERAZANT
NFL alleges would result from New Jersey's
legalization of sports gambling in this case?

MR. DREYER: Objection to the form

of the question. You can answer.

A. {Examining document.)

It essentially summarized the
themes. They can be expressed in several
ways, but the threat to the integrity of the
game, the threat to our fan's perception of
our game as reflected in those paragraphs are
at the core of the issue.

Q. So at a high level at least, the
two harms that the NFL is alleging in this
case are to the integrity of the NFL's game
and to its fans’ perception; is that right?

MR. DREYER: Objection to the form

of the question. Counsel we're playing

games here. There's an entire
declaration from the NFL and you know it,
so I think this entire line of

questioning is imperfect, but you can

answer.
A. As I said, the threat to the
integrity of the game, the core threat -- one

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of the core threats, which is the increase in
gambling that would result from New Jersey's
attempt to violate the federal law, would
result in threats to the actual integrity of
the game by way of increasing the chances of
match-fixing, corruption of officials and
players.

Tt would equally, importantly
affect the very way our sport is perceived by
its fans, changing the sport -~- the viewership
from watching the athletic contest for the
challenges of teams pitted against each other,
strategy, to whether or not they were going to
make money or lose money on a transaction; and
a threat to the perception of how our youth
view our sports and is sports something that
is made for a way to make money or is it
something that you can watch incredible
athletes perform at a level that defies
imagination.

Generally I think those concepts
are contained within paragraphs 5 and 6. I've
seen it expressed in different ways. I've

seen it expressed far more eloquently in

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Commissioner Tagliabue's testimony before
Congress for PASPA, I've seen it expressed in
Commissioner Godell's declaration. But that
theme is, as captured -- as is captured in
paragraphs 5 and 6, is the essence of this
issue.

Q. Is the NFL relying on Mr. Godell's
declaration in support of its standing in this
case?

MR. DREYER: Counsel, again, we're
getting into questions of legal strategy.

So the witness can answer as to his

understanding, but we've gone fair afield

with facts which is what we're here for.

A. I'm not sure if that was submitted
for the preliminary injunction, which is no
longer necessary, if it was submitted with
respect to the motion for summary judgment or
the motion to dismiss. Frankly I am not sure,
you know, where that has been cited.

Q. Mr. Ferazani, one of the alleged
harms that you mentioned concerned the
integrity of the game, correct?

A. The integrity -- actual integrity

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actually -- I've seen a study, or I don't know
if it's an assertion from New Jersey, that you
were hoping to generate $10 billion worth of
gambling annually. That's a giant amount
of -- or significant amount of money changing
hands based upon the outcome of our games.

As you increase the amount of money
that's dependent upon the outcome of the
games, by necessity you increase the chance or
the lure for organized crime or other
undesirable elements to try to fix our
matches, to try to offer cash to either
players or officials or others. That could
influence -- or give a better gambler a
leverage or an advantage in making a bet which
would threaten the very integrity of our
games.

Q. Does the NFL allege that New
Jersey's legalization of sports gambling would
result in an increase in match-fixing
activity?

A. It would directly increase the
threat of match-fixing activity because it

would directly increase the amount of gambling

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of the game as well as the fan's perception of
the integrity of the game.

Q. And we'll get to the fans'
perception in a minute. But first I'd like to
talk about the harm to the integrity of the
game, okay?

A. Sure, thank you.

Q. Can you describe the harm to the
integrity of the game that would result, in
the NFL's view, from New Jersey's legalization
of sports gambling?

A. Sure. By virtue of -- if New
Jersey is permitted to violate the federal law
and condone State~sponsored gambling, it would
not simply be a green light to State-sponsored
gambling but economically -- the economic
reality is that you would have advertisement
for the casinos, possibly by the State,
seeking to increase the prevalence of gambling
across the country -- across the State and
generally.

When you've increased the amount of
money that's being wagered and the fans'

perception of that and the money that's

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that's occurring on our games. And, again,
not to -- you cannot overemphasize this point:
The essence of what we sell our fans is honest
competition. One cannot even begin to
estimate the impact that one match-fixing
scandal could have on our income, our fan
loyalty, and on the success of the National
Football League.

Q. Mr. Ferazani, the NFL is alleging
that New Jersey's legalization of sports
gambling would directly increase the amount of

gambling on the NFL's games; is that correct?

A. That's correct.
Q. What's the basis for that
allegation?

MR. DREYER: Objection, asked and
answered. You can answer,

A. As I indicated, by virtue of New
Jersey's own estimation, they are expecting
$10 billion a year in wagering on sports if
they're permitted to violate the federal law.
That would result from the -- not only the
State authorization but from the advertising

that would result from the State and casinos

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telling members of the public that sports
gambling is okay ~~ it’s not only okay but
come on in and do it. It would change that
from forbidden activity to permitted activity.

Without the prohibition -- without
sports gambling being illegal, there would be
nothing preventing kids in college from coming
in and placing a wager on a sport, which to
date has not been permitted. So it's based
largely on commonsense and an understanding of
marketing and advertising, what the intent is,
and from New Jersey's own statements that they
intend to generate $10 billion annually from
this violation of federal law.

Q. Where are you getting that $10
billion figure?

A. I saw that, I believe, from either
an article or a statement or ~~ an article
referencing New Jersey's administrative
regulation passage, i believe. I think it was
$1.3 billion expected to the state and 106
billion to the ~~ from a general handle. It's
going from my recollection when this was the

history of the case as we were proceeding.

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in the United States?
MR. DREYER: Objection as to
foundation. You can answer.

A. No.

Q. Does the NFL have any studies,
analyses or estimates regarding how much
sports gambling on NFL sporting events occurs
in the United States?

A. Not that I'm aware of, no.

Q. Does the NFL have any information
about the number of bets, number of people,
number of dollars involved in gambling on NPL
sporting events in the United States?

MR. DREYER: Objection as to form
and lack of foundation. You can answer.

A, Not that I'm aware.

Q. Does the NFL have any studies,
analyses or other information about the amount
of sports gambling on the NFL's Super Bowl?

MR. DREYER: Objection as to
foundation. You can answer,

A. Not that I'm aware.

Q. Does the NFL know how much sports

gambling on NFL sporting events occurs in Las

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Q. So you're referring to a news
article?
A. Quoting a New Jersey official or

something that New Jersey filed with the law.

Q. Is the NFL relying on the estimate
of $10 billion in this case?

MR. DREYER: Same objection as to
legal strategy. You can answer as to
your understanding.

A. $10 billion? Wetre relying upon an
increase in the amount of gambling that would
eccur in our game. Whether or not New
Jersey's estimate is right or whether my
recollection about New Jersey's estimate is
right, we are relying upon a conclusion that
New Jersey's violation of the federal law
would increase the amount of gambling on our
game.

Q. Does the NFL know how much sports
gambling on NFL's sporting events occurs in
the United States?

A. Could you rephrase that?

QO. Does the NFL know how much sports

gambling on the NPL's sporting events occurs

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Vegas?

A. Again, we're not in the gambling
business. We don't have any such studies that
we have -- we have not commissioned any such
study and I'm not aware of any such study in
our possession. I'm sure that the media has
reported on it but, you know, that's other
studies from other places.

Q. Does the NFL have any studies,
analyses or other information regarding the
amount of sports gambling in New Jersey on NFL

Sporting events?

A, You mean illegal sports gambling?
Q. Any sports gambling in New Jersey.
A. I'm sorry. Again, the NFL has not

commissioned any such studies. We do not have
any studies that we've conducted in our
possession.

Q. To the extent there is any illegal
sports gambling on NFL sporting events in New
Jersey, would you agree that legalizing sports
gambling might cause some of the illegal
sports gamblers to turn to legal sportsbooks?

MR. DREYER: Objection as to

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foundation and calls for speculation.

You can answer.

A. Again, without being able to tell
you if there is -- or the amount of illegal
sports gambling going on in New Jersey, the
studies or the testimony from law enforcement
when PASPA was passed in 1992, from FBI
supervisory special agents and from New
Jersey's Director of Gaming Enforcement, as
well as from my own experience generally as an
FBI agent, the -- there is no way for the
State to compete with organized crime or the
illegal enterprise in this. You are going to
have the State condoning gambling and taking
away the stigma associated with sports
gambling. You're going to have the State and
its casinos conducting advertising to entice
more people to gamble. You're going to have
kids who would not do something that's illegal
now engaged in the activity because the State
says it's okay.

But the State can't compete with
organized crime for both the fact that when

you win in the state casinos, your winnings

 

 

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will be taxed. Illegal gambling I'm pretty
sure does not tax their winnings.

fllegal gambling and bookies are
able to offer perhaps better odds than the
State's able to offer. Bookies and other
unsavory characters can offer -- extend credit
to those who may not be able to qualify for
credit with a casino. And perhaps most
importantly, the very ease of being able to
place a bet in an illegal location would be
something that the casinos and the horse-
racing tracks in New Jersey would not be able
to match.

So you would have the State
increasing the amount of gambling generally,
taking away the stigma and then the population
going to find -~ a certain percentage of the
population going to find where it is most
convenient to do so.

So there's absolutely nothing that
I've seen from the testimony in '92 or
subsequently that would indicate that the
State would -- legalizing gambling would

somehow reduce the amount of illegal gambling

 

 

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going on and, in fact, I think the commonsense
dictates that it would increase the amount of
illegal gambling on.

Q. The NFL does not know whether
legalizing sports gambling in New Jersey would
reduce the amount of illegal sports gambling
in New Jersey, correct?

A. I think by relying upon the
testimony from law enforcement--and the only
testimony that was submitted in 1992--as well
as commonsense, I think that our belief is
that it, in fact, will not improve that
situation and, in fact, it will increase the
amount of illegal gambling going on in New
Jersey.

Q. The NFL believes that but doesn't
know it, correct?

A. I don't understand the distinction
between belief -- do I know that it's -- do I
believe that the sun is going to come up
tomorrow? Yes. Do we know it? No. I think
that given -- relying upon the testimony from
those that are in a better place than us, from

law enforcement and from New Jersey's own

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Director of Gambling Enforcement in 1992, I'm
comfortable in -- that is our understanding.
Could we be wrong? Sure. But that is our
understanding and I think it's a well-founded
belief.

Q. The NFL does not have any studies,
analyses or surveys to support that belief,
correct?

MR. DREYER: Objection to the form

of the question.

A. The NFL has been studying this
issue from its inception. So if you're
talking about a plece of paper or a -- you
know, some document based upon -- I'm not sure
what you're looking for. If you're looking
for a blind survey of New Jersey voters who
aren't informed about the issue, no.

But based upon the experience of
the National Football League, based upon the
information we've obtained from law
enforcement, it is our belief and
understanding that New Jersey's efforts to
violate the federal law will increase the

amount of illegal gambling going on on our

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game.

QO. Does the NFL have any economic
analysis to support that belief?

MR. DREYER: Objection to the form
of the question. You can answer it.

A. The only economic analysis that I
can give you is that the NFL has fought legal
Sports gambling since its inception and has
grown from the fifth most popular sport to a
$10 billion-a-year industry. And so by
analogy, what we are doing seems to be
working. As far as what New Jersey is doing

in an illegal environment, we have no such

analysis.
MR. DREYER: That was "illegal,"
correct?
{A discussion was held off the
record.)

BY MR. SIGLER (continuing):
Q. Mr. Ferazani, the NFL has a game

each year at Wembley Stadium in London,

correct?
A. That's correct.
Q. And, in fact, the NFL has had a

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game each year at Wembley Stadium since 2007,
correct?
A. I believe so. I know that we have
a game, we've had it for several years
Before that we had it in other countries as
well. But I will take your representation
that it's gone on since 2007.
MR. DREYER: No need to do that.

But you can answer as to your

understanding.

Q. Rather than taking my
representation, we will -- let me rephrase the
question.

The NFL has had a game at Wembley
Stadium in London for several years and is

continuing to do so in the future, correct?

A. That is absolutely correct, yes.

Q. Sports wagering is legal in London,
correct?

A. To my understanding, yes.

Q. And does the NFL acknowledge that

there is sports wagering on the NFL's game at
Wembley Stadium in London?

MR. DREYER: Objection to the form

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1 HIGHLY CONFIDENTIAL - L. FERAZANI
2 of the question.
3 AY Actually I know for a fact that
4 sports gambling in England is legal and
5 Wembley Stadium has a ticket booth to take
6 wagers at the stadium. I can tell you
7 unequivocally that those ticket booths for
8 gambling are closed when our games are played
9 at Wembley Stadium. So whether or not there's
10 gambling being done in other venues, I can't
ll tell you for sure.
12 Q. Are you aware that bets are taken
13 at other venues close to Wembley Stadium?
14 MR. DREYER: Objection to the form
15 of the question. You can answer.
16 A. I don't have any first-hand
17 information about that.
18 Q. Other than the booths at Wembley
19 Stadium that are closed during the NFL's game,
20 does the NFL take any other steps to prevent
21 wagering on the NFL's game in London?
22 A. I believe that our policies with
23 respect to that game in London are consistent
24 with our policies here in the United States
25 with regard to broadcast restrictions,
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2 advertising. But beyond what we can control,
3 I'm not sure that there's anything else. We
4 control what we control and we do take steps
5 to make sure that those booths are closed and
6 that broadcast and sponsorship and the
7 advertising are consistent with the practice
8 followed in the United States.
3 Q. So does the NFL have any
10 information about how much sports wagering on
il the NFL game in London occurs?
12 A, Not to my knowledge, no.
13 Q. Has the NFL had any sports
14 gambling-related problems that have arisen
15 from its game in London?
16 A. I'm not aware of any, no.
1? Q. Have there been any instances of
18 match-fixing that have arisen from having the
19 game in London each year?
20 A. Not that I'm aware of.
21 Q. Does the NFL have any estimate of
22 how much sports gambling on NFL sporting
23 events would occur in the United States if New
24 Jersey moves forward with legalizing sports
25 gambling?

 

 

 

 

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MR. DREYER: Objection, asked and
answered. You can answer.

A. There will be more sports gambling
if New Jersey is permitted to violate the
federal law, There will be significantly
more. Quantifying that, it's impossible to
do.

Q. So the NFL does not have any
estimates, correct?

MR. DREYER: Objection, asked and
answered,

A. I can tell you unequivocally there
will be more sports gambling if New Jersey is
permitted to violate the federal law. I'm not
able to quantify how much more that would be.

Q. Is the NFL undertaking any analysis
to try to estimate what the impact would be on
the level of sports gambling if New Jersey
moves forward with legalizing sports gambling?

A. No. We're focusing our efforts on
stopping New Jersey's efforts, but we have not
commissioned any studies.

Q. Does the NFL have any analyses or

estimates about how New Jersey's legalization

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HIGHLY CONFIDENTIAL ~ L. FERAZANI
legalizing sports gambling in New Jersey, New
Jersey will actually help Las Vegas generate
more sports gambling?

MR. DREYER: Objection to the form
of the question. You have his answer.

But you can answer if you're able to.

A. I think if you've taken away the
stigma involved with sports gambling
generally, if you've added advertising
extolling the virtues and the benefits of
sports gambling, you're going to increase the
amount of people that gamble on sports. Where
they do that, I can't get into how much it's
going to increase in Las Vegas, but our belief
is that it will increase.

Q. Does the NFL have any studies,
analyses or surveys to support that belief?

MR. DREYER: Objection, asked and
answered. You can answer.

A. Other than, again, our experience,
the testimony provided in 1992, the
conclusions of the national -- of Exhibit 2
that an increase in gambling generally is

going to increase -- sports gambling generally

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
of sports gambling would impact the legal
sports gambling in Las Vegas?

A. No, not that I'm aware of.

Q. Does the NFL know whether the
availability of legalized sports gambling in
New Jersey would cause the level of sports
gambling in Las Vegas to go down?

MR. DREYER: Just give me a second.

Objection as to foundation. You can

answer. Do you need the question read

back?

THE WITNESS: I'm reading.

MR, DREYER: She can read it. It's
probably a better practice.

(Requested portion read.)

A. I think our belief is that it would
actually go up because if there's gambling --
if New Jersey's permitted to violate the
federal law and advertise sports gambling,
they're going to increase the amount of
gambling generally. I think you will see an
increase in gambling everywhere and that
includes in Las Vegas.

Q. So the NFL's belief is that by

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will increase the prevalence of the population
that engages in that activity, there's nothing
specific analyzing New Jersey versus Nevada.
Q. What part of Exhibit 2 are you
referring to that supports that belief?

MR. DREYER: Objection. I think he
referred to the Commission and not to
Exhibit 2 itself.

A. I'm sorry, 1992 --

MR. DREYER: You can answer.

A. The 1992 testimony, I think it may
be referenced here in Exhibit 2 at page --

MR. DREYER: JI think the problem is

we have an incomplete exhibit so...

A. rT may be misremembering, if that's
a word.
Q. Mr. Ferazani, are you referring to

testimony that was given to the Gambling
Impact Study Commission in connection with its
report?
MR. DREYER: Again, I have to
interpose an objection because this is
part of the problem when --

MR. SIGLER: Your objection is

 

 

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noted.

MR. DREYER: Let me finish and make
my objection, Counselor. If you don't
like it, that's fine. But let me make
the record.

This is the problem when you mark
an incomplete document. And so I think
the question's objectionable because the
witness hasn't been given the full
commission report. But you can answer.

{Requested portion read.

A. I'm not sure what I'm referring to.

Q. Does the NFL have any estimates of
how much legal sports gambling on NFL sporting
events would occur in New Jersey following New
Jersey's legalization of sports gambling?

MR. DREYER: I think it was just
asked and answered. But you can answer
it.

A. Again, it is our understanding that
there will be more gambling on our sport if
New Jersey is permitted to violate the federal
law. To quantify that, it's impossible.

Q. And the NFL has not undertaken any

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HIGHLY CONFIDENTIAL - L. FERAZANI
gambling is legalized in New Jersey, that
there would be match-fixing?

MR. DREYER: Objection, asked and
answered. You can answer.

A. We contend that the threat to the
integrity of the game, the threat for
match-fixing, will increase substantially if
New Jersey is allowed to violate the federal
law.

Q. But the NFL has not had instances
of match-fixing despite a substantial legal
sports gambling market in Las Vegas for many
years, correct?

MR. DREYER: Objection to the form
of the question, assumes facts not in
evidence. You can answer.

A. And, again, I'm not sure how
substantial or insubstantial the fact that
Nevada's permitted to have a sportsbook. But
through our rigorous enforcement,
investigation and education of our players,
League employees, and the steps we've taken,
we have been fortunate not to have a

match-fixing scandal in our history, that I'm

 

 

 

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effort to develop an estimate of that,
correct?

A. itm not sure how we would do that,
but we have not.

Q. Mr. Ferazani, does the NFL know how
much match-fixing occurs with respect to NFL
Sporting events in the United States?

MR. DREYER: Objection as to
foundation and to the form of the
question. You can answer.

A. We believe there's been no
match-fixing with regard to NFL games in the
United States or anywhere else.

Q. What's the basis for that belief?

A. Our own internal enforcement and
investigation. We've never uncovered any --
any of our games that have been fixed due to
outside influences.

Q. You've never had any instances of

match-fixing in the entire history of the NFL

league?

A. To my knowledge, no. Going back
decades.

Q. Does the NFL contend that if sports

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HIGHLY CONFIDENTIAL - L. FERAZANT
aware of. Even one match-fixing scandal,
though, would be disastrous to the success of
our league.
Q. Apart from the NFL's belief that
legalizing sports gambling in New Jersey would
increase the level of sports gambling on NFL
sporting events, is there any other basis for
the NFL's belief that there would be an
increased risk of match-fixing?
MR. DREYER: Objection, asked and
answered. You can answer. And I believe
the question mischaracterizes the
witness' prior testimony. But you can
answer.
A. Yes. in addition to the fact that
you're going to have more sports gambling by
virtue of New Jersey's violation of the
federal law, advertising, et cetera, as
referenced in my prior answers, as I've also
alluded to in the past, Commissioner Tagliabue
testified quite eloquently about the general
threat of removing the stigma of sports
gambling.

You know, he testified about being

 

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
a young college basketball player and going to
camp, I believe; and at the camp with other
elite players, there were people that were
offering money to the other campers, other
elite basketball players. And he said he
didn't even consider it because gambling was
illegal, sports gambling was illegal, and he
would not associate with such a stigma. That
was what kept him from going down a path that
other players chose not to and actually who
took money, eventually were embroiled in a
scandal.

Removing the social stigma from
sports gambling would result in a substantial
increased threat because once you take away
that stigma, there would be no more deterrents
for players or officials to associate with
gamblers or bookies or that segment of
society.

Q. Is it the NFL's contention that
there is currently a social stigma associated
with sports gambling?

A. I think there's a bright line that

we're allowed -- that we have with our players

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who understand that gambling is illegal,
sports gambling is illegal and gambling on our
game is forbidden, and associating with those
that gamble on our game is forbidden.

Q. And that bright line would remain
in place whether New Jersey legalizes sports
gambling or not, correct?

A. Well, currently those that gamble
except in Nevada are criminals. So that
bright line would be erased if New Jersey's
permitted to violate the federal law and the
federal law then is stricken. So what is a
nice bright line for people engaged in
criminal activity versus those not engaged in
criminal activity goes away.

Q. So does that bright line exist
today in Las Vegas?

MR. DREYER: Objection to the form
of the question. You can answer.

A. Well, Las Vegas which is known as
sin city, I'm not quite sure if that stigma's
been removed there, either. It markets itself
as I guess, you know, appealing to any vice

you want to engage in. I can't tell you

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what -- you know, what goes on in Las Vegas.
I can just tell you that the fact that this
activity is illegal in the vast majority of
states assists us in protecting our game.

Q. Mr. Ferazani, one of the harms that
the NFL alleges in this case is that
legalizing sports gambling in New Jersey will
affect the public's perception of the
integrity of the game. Correct?

A. Tt will change the public's
perception in many ways: One of the ways that
it will change it is that folks that are now
engaged in State-sanctioned sports gambling
will be viewing our contests in a different
way. They'll be viewing them as financial
transactions, That would be at the forefront
of many of our fans' perceptions of the game

In any athletic contest, we see
missed calls, we see dropped passes, missed
field goals, we see coaching decisions which
at present are debated on sports radio and by
our fans on the merits of the play, on the
ability of the athlete to make the play and

whether or not the official blew a call. You

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don't see a debate -- the forefront of the
debate is not is the game fixed or not.

If our fans' perception changes to
the debate about whether or not an official is
corrupt or an athlete is on the tank, you've
materially and irreparably changed our fans'
perceptions of our game.

Q. Does the NFL have any studies or
analyses regarding the extent to which fans
currently have the perception that NFL matches
are being fixed?

A. As I've alluded to in the past, our
focus and our purpose as a league is to
protect the shield and to have a general
understanding of our fans' beliefs. And we
read the media reports about our games and our
athletes, and it is our present position that
there is not a belief among our fans that our
games are fixed. Our fans believe that what
they're watching on the field is honest
competition. That is the appeal of our sport,

Q. So the NFL's belief is that its
fans currently do not have the perception that

games are being fixed, correct?

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A. That is our belief and
understanding.

Q. Do you have any studies or analyses
to support that belief and understanding?

MR. DREYER: Objection, asked and

answered.

A. Again, that's our purpose as far as
making sure that our fans have a healthy
perception of our games. As far as a
telephone survey of fans, I don't have
anything like that. I do know that our media
folks and the Commissioner's first duty is to
make sure that the fans' perception of our
games and the actual games themselves are
honest and fair competition.

If we became aware of a perception
that there our games was fixed, that would be
a huge issue and we would be seeking to
address it immediately.

Q. But the NFL doesn't have any
studies or analyses regarding the extent to
which its fans have a perception that NFL
games are being flxed, correct?

A. Again, I think we're going back and

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1 HIGHLY CONFIDENTIAL - L. FERAZANI

2 Q. Mr. Ferazani, you know what a
3 consumer survey is, correct?

4 A. My understanding it can have

5 several forms: telephone, in-person, mail.
6 Just questions that are asked to members of
7 the population.

& Q. The NFL has a -- does the NFL have
9 a consumer research group?

10 A. We outsource that. There's a

il person that is charged with figuring out if we

12 need to have certain studies done, yes.

13 Q. Who is that person?
14 A. Alicia Rankin, R-A-N-K-I-N.
15 Q. Has the NFL commissioned any

16 consumer surveys regarding the extent to which
17 its fans have a perception that its matches

18 are being fixed?

19 A. To the extent we've outsourced and
20 had a random telephone sampling done of our
21 fans, the answer is no. But the true study
22 and the experience of the League from the

23 executives of the League, marketing, teams,
24 clubs, is that our fans do not believe our

25 sport is fixed. And that is the ultimate goal

 

 

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forth a bit about studies or analyses. So I'm
telling you that the League's purpose every
day is to analyze and study our fans and what
is on the media. You know, our Commissioner
interacts with fans on a daily basis. The
owners of our teams interact with our fans, we
monitor the message boards, we read the media
accounts.

And we know that for the past, you
know, several decades we've grown steadily
and our fans' relationship with the League and
the clubs has increased steadily to its
present point which is now a $10 billion plus
a year business. If our fans believed that
what they were watching was something akin to
wrestling or Jai Alai, we would not be the
most popular sport in America.

Indeed those are good examples as
far as experience of a league, knowledge of
the executives that run the League, where an
affiliation and identity that is too closely
associated with gambling--in fact, Jai Alai's
purpose is gambling--would be disastrous to

the League's health and financial security.

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2 and duty and responsibility of the

3 Commissioner.

4 So we wouldn't need to do a study

5 because that issue would be at the core of our
6 existence. We wouldn't need to have a phone

7 study done for us to realize that there was a
8 real problem with our connection with our

9 fans. I would submit to you that the NFL,

10 perhaps better than any other organization, is
11 in tune with our fans' perception of our

i2 shield because that is all we are selling our
13 fans, is the integrity of the NFL shield, the
14 honesty and purity of the sport we put on.

15 That's what brings them back. We're not

16 selling them cars or anything else.

17 So it's something that is at the

18 forefront of consciousness of our executives
19 but there is no study commissioned from a

20 third party that I'm aware of.
21 Q. Has the NFL conducted any consumer
22 surveys regarding the extent to which the
23 NPL's fans have a perception that is

24 influenced based on the legalized sports

25 gambling market in Las Vegas?

 

 

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A. I'll never remember.

MR. DREYER: I -- objection to the
form of the question. You can answer if
you understand it. She can read it back.

(Requested portion read.)

A. Not that I'm aware of.

Q. Has the NFL done any consumer
surveys regarding its fans' perceptions
generally about the integrity of the game?

A. And, again I --

MR. DREYER: Just let me interpose
an objection because I think we may be
going far off of the 30(b) (6) topics. So
with that objection, you can answer.

A. And, again, our fans' perception of
the integrity of our game is at the forefront
of what we do every day. It's something that
we understand based upon all of our
executives’ interactions with our fans, our
Commissioner's interactions with our fans, the
club interactions with the fans and players'
interactions with the fans.

If there was any indication that

our fans were concerned about the integrity of

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our sport, that would be brought to the
attention of the Commissioner immediately and
we would take steps to address it.

So in the fact that we do it every
day, that's our job, we have -- we study that.
But to the extent have we had a telephone
survey done of our fans or -- not to my
knowledge.

MR. DREYER: We've been going about

an hour and a half. If we're going to

move to another topic, can we take a

short break.

MR. SIGLER: Fair enough. Give me

a second. All right. Let's take a

break.

(Recess taken 11:43-11:56 a.m.)

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, one of the alleged
harms that you referred to this morning
related to consumers' interest in the games
because of a financial interest. Correct?

A. It was replacing the fans' interest
in our games for the athletic contest, the

sport, for a way or means to an end

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HIGHLY CONFIDENTIAL - L. FERAZANI
financially; in other words, doing it as a
financial transaction where you place a wager
on one team or the other rather than watching
a team, watching an athlete, developing an
affinity for the club and team and having a4
long-term relationship with the League and the
club.

Q. And how does it harm the NFL if
someone is watching a game because of a
financial interest rather than a rooting
interest in a team?

A. There's a host of ways: First, if
a fan is no longer -- a fan that's watching it
purely for a financial interest, if the wager
that they place goes the wrong way, it may
cause them to resent their team, may cause
them to blame their team for the financial
issues that they're having. That does not
lead to a long-term relationship.

What the NFL is focused upon is
developing a long-term relationship with its
fans and a broad-based relationship where a
fan has an affinity for a specific team or a

series of teams or specific athletes and goes

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to games, purchases merchandise and develops a
very long-term relationship with teams and
athletes and the sport.

Q. Does the NFL have any consumer
surveys or research about the number of fans
who currently watch NFL games because of a
financial interest rather than a rooting
interest?

A. Not to my knowledge. And the
financial interest being those that watch for
gambling purposes?

Q. Well, the NFL's concern is that it
does not want people watching its games
because of a financial interest, correct?

MR. DREYER: Objection,
mischaracterizes testimony. You can
answer.

A. Our concern is that if you put
wagering at the forefront of the reason for
the relationship, that materially changes the
nature of that relationship where a fan who's
purely watching for a financial transaction,
if that transaction goes poorly for the fan,

they lose their bet, they may then blame the

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Giants if they paid 50 bucks on the Giants and
the Giants play poorly. They may then get
angry and turned off and are much more quickly
to stop supporting a team if they lose money
because of that team.

Our focus are for the fans that
we're looking to develop, and the fans that
benefit us are those that develop an affinity
for the team, watch the team through thick and
thin, identify with certain athletes. Those
fans will go each and every week, they'll buy
merchandise, they'll attend games, watch TV,
watch our broadcasts. And it's the type of
fan we're seeking to develop.

Q. Does the NFL have any consumer
surveys or research regarding the number of
people who watch NFL games because of a
financial interest in the outcome of the game?

MR. DREYER: Objection. I think

this was asked and answered. But you can

answer.

A. Can we quantify the number of
people who are watching it purely because of a

financial interest? I don't have any studies

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to that effect.

Q. Does the NFL have any consumer
research or studies about why people watch NFL
games?

MR. DREYER: Objection. JI think
we're beyond the 30(b) (6) topic. But you
can answer as to your understanding.

A. I'm not sure what -- you know, I'm
not sure where you're heading. Why people
watch? I'm not sure -- maybe you could
rephrase that.

Q. Sure, let me try.

Does the NFL have any consumer
research or studies about the reasons why its
fans watch particular games?

MR. DREYER: Same objection. You

can answer.

A. We may. I'm -- I don't know off -~
as I sit here today specifically. I don't
know if I'm understanding your question or not
but --

Q. You said you're not understanding
my question?

A, Z don't know if I'm understanding

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HIGHLY CONFIDENTIAL - L. FERAZANI
or not. But what I searched for when we did
our document response was specifically
gambling-related studies. I'm not sure if
other such studies exist that aren't related
to the topics covered in the 30(b) (6) notice
or the document request.

Q. The NFL would like its fans to
develop a long-term interest and to watch
games to develop that interest, correct?

A. Yes.

Q. Does the NFL have any consumer
surveys or research about the number of fans
who have that long-term interest?

MR. DREYER: Same objection with
respect to the 30(b) (6) topics. But you
can answer as to your understanding.

A. Other than an understanding from
our business model and the fact that the sport
has grown in popularity each year, I don't
know that ~~ I'm not comfortable, I'm not
comfortable answering about studies beyond the

scope of gambling or financial interest.

 

 

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(HIGHLY CONFIDENTIAL PORTION: }
BY MR. FERAZANI (continuing):

Q. Mr. Ferazani, earlier today I think
you said that the NFL is a $10 billion-~
per-year industry. Do I have that right?

A. Roughly right, give or take a few
hundred million either way.

Q. Is that $10 billion figure a
revenue figure?

MR. DREYER: Let me just mark this
section "Highly Confidential." We'll
review it. I'm not sure how much of this
is public or nonpublic. So in an
abundance of caution, let's go to "Highly
Confidential" designation as of 87:7.

A. And my answer is based upon public
reports of $10 billion a year in revenue.
That's my understanding.

Q. Much of that comes from TV
contracts, correct?

A. Yes.

Q. And the reason the NFL can command
such significant TV contracts is because its

games are watched by lots of people, correct?

 

 

 

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A. Not only that but the fact that our
games are things that people want to watch
live and it's very well positioned, with
Sunday afternoons being like what most of the
games are. It's becoming not only just a game
but it's an event that people build their day
around. But certainly it's part of the fact
~~ it reflects the popularity of the League
and the sport.

Q. The NFL benefits from its high TV
ratings regardless of the reason why people
are watching those games, correct?

MR. DREYER: Objection to the form
of the question. You can answer.

A. Well, certainly the dollar value of
those contracts reflect the ratings that our
games generate.

Q. And those ratings are beneficial to
the NFL regardless of why people are watching
the games. Correct?

MR. DREYER: Objection to the form
of the question. You can answer.

A. Well, again, you know, I think it's

important to note that as a league, from the

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Commissioner on down, our intent and focus is
on long~term success and long-term building of
the game. There's always choices that a
league could make or that the NFL could have
made for a quick, you know, spike in profit at
the expense of the long-term profit. And our
League and the cornerstone of our League is
looking and planning for long-term success and
sustainable profit and increase in
percentages.

So I disagree with the premise
that, you know, if there was something we
could do with respect to -- if there was
something we could do to spike one year, to
spike our attendance for one year but would
lead to a long-term decline in our fan -- in
our relationship with our fans, that would not
be beneficial to the League. We're not here
for one year; we're here for the long-term
duration. So in any business transaction, I
think you need to weigh risks, benefits and we
look long term.

Q. Has the legal sports gambling

market in Las Vegas led to a long~term decline

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HIGHLY CONFIDENTIAL - L. FERAZANTI
in interest in the NFL?
MR. DREYER: Objection as to
foundation. You can answer.

A. I would be -~ I don't want to guess
as far as what impact it's had. We've been
profitable. We've done better each year, but
I'm not -~ I can't tell you what impact
Nevada's or Las Vegas' decision has made.

Q. Does. The NFL take any steps to
discourage its fans from watching games
because of financial self-interest rather than
a rooting interest?

A. I think the NFL markets itself
based upon the purity of its sport, the
healthy athletic competition and the fact that
you're able to watch athletes perform feats
that regular folk can't do. So our focus with
our relationship with our fans is on those --
those aspects of the game.

Q. Mr. Ferazani--and please feel free
to refer to the Complaint--I'd like to make
sure I'm tracking the harms that the NFL is
alleging in this case. You've mentioned that

New Jersey's legalization of sports gambling

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could affect the integrity of the NFL's games
by resulting in match-fixing or increasing the
risk of match-fixing; you've referred to the
impact on perceptions of consumers about the
integrity of the game; and most recently we've
discussed the NFL's concern that legalized
sports gambling will cause people to watch
games because of a financial self~interest
rather than a rooting interest.
Are there any other harms that the
NFL is alleging that result from New Jersey's
legalization of sports gambling?
MR. DREYER: Objection, asked and
answered. You can answer.

A, And to be clear, it's the threat of
all of those harms that is at the cornerstone
of the League's fight against New Jersey's
attempt to violate the federal law. But the
list that you've provided coupled with the
Complaint~~and, again, the themes in both your
question and the Complaint can be expressed in
many different ways--but generally that is at
the cornerstone of our issue.

Q. Are there any other harms you can

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think of that the NFL is alleging would result
from New Jersey's legalization of sports
gambling?

MR. DREYER: Objection, asked and

answered. You can answer.

A. The threat to the success of the
shield or to the perception of the shield both
by actual match-fixing -- the threat of actual
match-fixing is a substantial concern. If
even one game is found to have been fixed,
that would be -- would irreparably damage our
relationship with our fans, it would make fans
change the way that they view our games, and
it would lead -- it would be disastrous for
our long-term relationship with our fans.

The perception of our fans not only
would be impacted from actual match-fixing but
if the games -- if the focus of our fans
changed from watching football games for the
purity of the sport and healthy competition
and for the contests themselves to a financial
transaction and changed the fundamental nature
of the relationship with our fans, that would

also be -- irreparably damage our long-term

 

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increased threat of match-fixing which we've
discussed ~- and that threat and that risk is
a very real one and one that, as a business,
the NFL needs to factor into its decision as
to whether this is good or bad or this could
be harmful or not.

But the increase in sports gambling
and the fact that New Jersey would now be
telling its citizens and its youth that sports
gambling is okay and is not a forbidden or
prohibited activity changes the perception of
our sport. As soon as that law -- as soon as
New Jersey begins granting casino licenses,
that fundamentally changes the nature of our
relationship with our fans and what our sport
represents to the citizens of New Jersey.

On our long-term basis, that will
impact -- and on a short-term basis that will
deleteriously impact our relationship with our
fans. That is based upon our experience, upon
our business model, you know, suffice it to
say that.

Q. Okay. In case any of us cannot

recall, the question was actually about

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relationship with our fans.
Those threats could manifest

themselves in many different ways, but that I
think -- we may be saying the same thing, but
I just want to be clear that, as I sit here
today, that's the cornerstone of our issue.

OQ. Are there any other harms that the
NFL is alleging in this case?

MR. DREYER: Objection, asked and

answered. You can answer.

A. I think that's the list, you know,
incorporated in the Complaint.

OQ. The NFL is not alleging that New
Jersey's legalization of sports gambling will
result in any financial loss to the NFL,
correct?

MR, DREYER: Objection,

mischaracterizes the witness' prior

testimony. You can answer.

A. We absolutely are. And as I've
explained, if New Jersey is permitted to
violate the federal law, that will result in
an increase in sports gambling, period. That

increase will have not only resulted in the

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financial loss. Let me ask it again.

A. All right.

Q. The NFL is -- well, let me ask it a
different way. Strike that.

is the NFL alleging that the
legalization of sports gambling in New Jersey
would result in financial loss to the NFL?

MR. DREYER: Objection, asked and

answered.

A. Yes, for the reasons that I just
went through in my long-winded answer. The
impact of our fans we can't quantify, but it
will change the relationship based upon our
experience as a league and the defense of our
shield. That relationship has resulted in the
League increasing its income in each and every
year for the past several decades.

By analogy, you can look at
industries and sports that closely affiliated
themselves with gambling and became identified
solely with gambling such as those that are
set forth in PASPA itself--the horse racing
industry which incidentally is now at a point

where, my understanding, the New Jersey law is

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HIGHLY CONFIDENTIAL - L. FERAZANI
designed to save the horse-racing industry in
New Jersey because of its relationship with
gambling. It used to be one of the most
watched events in America; and over the course
of decades, as the NFL has increased in
popularity because it's viewed as a sport and
athletic competition, horse racing has
declined in every state in which it's offered.

And I would submit to you, and this

is not based on a study but based on
experience, that it is known just as a vehicle
for gambling; Jai Alai, dog racing. That
history and that experience is upon what we
base our assertion that allowing New Jersey to
violate the federal law would negatively
impact our bottom line.

Q. The NFL doesn't have any estimates
of financial loss that it contends would
result from New Jersey's legalization of
sports gambling, correct?

A. We're umable to quantify that other
than our understanding and belief that it will
negatively impact our relationship with our

fans and will negatively impact our long-term

 

 

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
growth.

Q. Is the NFL alleging that New
Jersey's legalization of sports gambling would
result in decline of TV ratings to the NFL?

A. For the reasons that I've
previously answered and the negative impact on
our fans’ perception, it will -- and our
belief is that it will negatively impact the
long-term growth of our sport and the
long-term popularity of our sport which will
consequently impact viewership. We aren't
able to quantify it. We don't believe it's
good and healthy for the League, which is why
we're doing what we're doing here.

Q. So the NFL does not have any
estimate of how specifically New Jersey's
legalization of sports gambling would affect
its TV ratings, correct?

MR. DREYER: Objection to the form
of the question.

A. We're unable to quantify to what
extent New Jersey's violation of the federal
law will impact our sports -- our broadcast

ratings. However, for all the reasons I've

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
previously testified to, we believe that it
will negatively impact our ratings and our
xelationship with our fans, our long-term
relationship with our fans.

Q. Does the NFL have any information
about how the legal sports gambling market in
Nevada has impacted the NFL's TV ratings?

A, Do we have any information about
that impact? Not that I'm aware of.

Q. Does the NFL have any studies or
analyses showing that the legal sports
gambling market in Nevada has driven down the
NFL's TV ratings?

A. IT am not aware of any such studies,
no.

Q. The NFL's most recent TV contracts
are substantially more advantageous to the NFL
than their previous contracts, correct?

MR. DREYER: Objection to the form
of the question. You can answer.

A. I believe we generate more revenue
from them.

Q. The NFL's most recent TV contracts

are billions of dollars larger than the

 

 

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previous TV contracts, correct?

MR. DREYER: Objection as to
foundation and, again, beyond the scope
of the 30(b) (6) topics. But you can
answer.

A. Over the course of those
extensions, there are billions of dollars more
that will be going to the NFL from those TV
contracts reflecting the NFL's enhanced
popularity.

Q. And the NFL has been able to get
those contracts despite the illegal sports
gambling market in Las Vegas, correct?

MR. DREYER: Objection to the form
of the question. You can answer.

A. I would say the NFL has been able
to get those contracts due to the NFL and the
other sports leagues' successful fight against
sports betting in the country so that our fans
and our long-term relationship with our fans
has continued to increase.

Fans view NFL games for the purpose

of the sport, the athletic contests and the

unbelievable feat of our athletes. [It is

 

 

 

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because of that that the NFL has committed the
resources it has, not just in PASPA back in
1992 but in defending the law in Delaware and
here in a couple instances and also fighting
for the Unlawful Gambling Internet Act

The NFL is a revenue-generating
business. If the NFL believed that sports
gambling would allow it to increase its
revenue, the NFL would engage in that
activity. Based upon our studies and
analysis, we know that that will negatively
impact our long-term relationship with our
fans, negatively impact our bottom line and
revenue and negatively impact the perception
of our sport across the country.

So I don't think that ~~ I believe
your question may be viewing it from the -- we
would disagree with the vantage point from
which your question was presented.

{Exhibit 4: Constitution and Bylaws
(#PLAINTIFFS' 00001858-1861), was marked
for identification.)

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a

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copy of the document marked Exhibit 4. Please
review this document and tell me whether you
recognize it.

A. {Examining document.)

This is the Constitution and Bylaws
of the National Football League as revised by
June 1, 2010.

Q. Is this the current -~ well, strike
that,

First let me clarify: This is a

portion of the Constitution and Bylaws,

correct?
A. That's correct.
Q. And I'll represent that this was

the portion that was produced by Plaintiffs in
the litigation. Is this the current version
of this portion of the Constitution and
Bylaws?

MR. DREYER: I'm not sure it's
intentional, but I think your
xvepresentation was inaccurate. But you
can answer the question.

A. I believe -- the only reason I'm

hesitating is I'm not sure if there was a --

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HIGHLY CONFIDENTIAL - L. FERAZANI
whatever we produced to counsel was the most
recent revision. I'm not sure of June 1,
2010. 1 gave him all of our copies. I'm not
trying to be difficult. I just -- I believe
it is, but I will defer if we produced
something more recently.

Q. Is the Constitution and Bylaws of
the NFL the governing document for the NFL?

MR. DREYER: Objection to the form
of the question. You can answer.

A. This is -- at the part of the NFL
there is also a collective bargaining
agreement with some of our unions. But with
xegard to the rules that are at the core of
the NFL, the Constitution and Bylaws would be
at the core.

Q. Can you turn with me, please, to
the page that has the number on the bottom
right corner 1860.

A. Sure.

Q. So I'll read it into the record.
The complete Bates number is Plaintiffs’
00001860. Do you see subpart (c) towards the

top of the page?

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A. Yes, I do.
Q. What is this provision?
A. Broadly, this is the antigambling

provision and the Constitution and Bylaws
granting the Commissioner the authority and
charging him with the responsibility to
prevent that those connected with or employed
by the League don't engage in sports gambling
or football gambling in our sport.
Q. Does this provision apply to all
NFL players, coaches and officials?
A. It does.
Q. Does it also apply to employees of
the NFL?
A. It does.
(Exhibit 5: NFL Constitution and
Bylaws excerpt (#PLAINTIFFS' 00003261-
264), was marked for identification.)
MR. SIGLER: Can we go off the
record for a second.
(A discussion was held off the
record. }
MR, SIGLER: I'd just like to

clarify something for the record. We

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HIGHLY CONFIDENTIAL - L. FERAZANI
just had a discussion off the record
between counsel and the previous exhibit
which was Exhibit -- the previous
exhibit, Exhibit 4, was a portion of the
Constitution and Bylaws that was produced
in the litigation but not the only
portion.
Let's go off the record.
(A discussion was held off the
record. )
BY MR. SIGLER (continuing):
Q. Mr. Ferazani, you've been handed a
copy of a document marked Exhibit 5. Please
review this document and tell me whether you

recognize it.

A. I do.
Q. What is this document?
A. It appears to be the Constitution

and Bylaws of the National Football League of
2006, a portion of it.

Q. And turning to the page with the
Bates number 3263 at the bottom, this is the
same provision that we just reviewed in the

2010 version, correct?

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HIGHLY CONFIDENTIAL - L. FERAZANI
A. Yes.
Q. And this provision gives the
Commissioner authority to impose penalties on
NFL employees, players and officials for

violating the League's gambling policy

correct?
A. Yes, it does.
Q. Are you aware of any other versions

of this provision, subpart (c), during the
period 2006 through the present?
A. I'm not, no.

(Exhibit 6: (Withdrawn)
(HPLAINTIFFS' 00001858-863), was marked
for identification.)

BY MR. SIGLER (continuing):
Q. Mr. Ferazani --

MR. DREYER: I’m sorry, is this the
same document?

MR. SIGLER: This is Exhibit 6.

MR. DREYER: Here's my issue. They
start with the same Bates number, they
have different Bates numbers that follow.
So I don't know if you prepared

compendium or if there are issues in the

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HIGHLY CONFIDENTIAL - L. FERAZANI
production, but they both start with 1858
and they then have different pages that
follow. So I'm not sure what the issue
is, but I want to flag it.

MR. SIGLER: Can 1 see the witness’
copy? Because my copy doesn't have that.
The previous document you're saying, the
previous exhibit, Exhibit 5, has the same
Bates number?

MR, DREYER: So Exhibit 4 and
Exhibit 6 have as the cover page
Plaintiffs' 1858, the first page of the
exhibit.

MR. SIGLER: Oh, yeah, I see that.

MR. DREYER: And then what follows
are different pages and different
excerpts from the constitution, so it's a
little unclear what we have here. And I
obviously don't have our full production
in front of me, but it may just be that
when you prepared Plaintiffs’ 6, you
copied the cover page. But without the
production in front of me, I can't be

sure what the issue is.

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MR. SIGLER: All right.
MR. WEGNER: There are different
years. In other words, it's the same
cover page but it's for different years.
The one that is 3261 is the '70 and the
one that is 1858 is the 2010. I think
that may be --
MR. SIGLER: Let's go off the
record.
(A discussion was held off the
record, )
MR. SIGLER: So for the record,
Counsel have just had a discussion off
the record. We are withdrawing Exhibit 6
and are going to proceed on to Exhibit 7.
(Exhibit 7: Constitution and Bylaws
excerpt Article IX (#PLAINTIFFS'
00004171-178), was marked for
identification.)
BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
document marked Exhibit 7, and please review
this document and my first question is going

to be whether you recognize it.

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i HIGHLY CONFIDENTIAL - L. FERAZANI 1
2 A. (Examining document.) 2
3 This appears to be a portion of our 3
4 Constitution and Bylaws. 4
5 Q. Do you know whether this is a 5
6 portion of the current edition of the 6
7 Constitution and Bylaws? 7
8 A. i'm sorry, I don't. I -- 8
3 MR. DREYER: Counsel, if it helps, 9
16 Iocan represent on the record that it's 10
il our understanding that this is the 11
12 current Article IX from the current 12
13 Constitution and Bylaws, and I believe 13
14 this was produced last Friday. 14
15 MR. SIGLER: Thank you. 15
16 THE WITNESS: What he said. 16
17 Q. Mr. Ferazani, can you turn with me, 17
18 please, to the second page of this document 18
19 which has the Bates number 4172 in the bottom 19
20 right-hand corner. 20
21 A. Okay. 21
22 Q. Please review subpart (6) if you 22
23 need to, and I will have a couple of questions 23
24 about it. 24
25 A. (Examining document.) 25

 

 

HIGHLY CONFIDENTIAL - L. FERAZANI

other restrictions contained in paragraph 6
Q. To your knowledge, is this
provision in subpart (6) the current version

of the NFL's policy about advertising

gambling?
A. Yes.
Q. Does this policy apply to employees

of the NFL?
A. It applies to employees of the NFL

and employees of our member clubs.

(Exhibit 8: NFL Constitution and

Bylaws 2006 Article IX (#PLAINTIFFS'
00003266-268), was marked for
identification.)

BY MR. SIGLER (continuing):

Ferazani,

Q. Mr. you've been handed a

copy of a document marked Exhibit 8. Please
review this document and tell me whether you
recognize it.

A. It appears to be the Constitution
and Bylaws of the NFL as of 2006.

Q. This is a portion of Article IX
which is the same part that we were looking at

in the previous exhibit, Exhibit 7. Correct?

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1 HIGHLY CONFIDENTIAL - L. FERAZANI 1
2 Okay, thank you. I've read it. 2
3 Q. Is this subpart (6) a summary of 3
4 conduct that the League prohibits? 4 4
5 A. Subpart (6) addresses a portion f 5
6 of -- or it sets forth our rules regarding 6
7 sponsorship, club sponsorship by gambling or 7
8 lottery enterprises. A similar document is g
9 either enhanced or repeated in the gambling : g
10 policy which is also a standalone document but 10
11 reflects the same principle. ll
12 Q. Does the NFL permit some 12
13 advertising by gambling operators at NFL 13
14 sporting events? 14
15 A. I think it -- the NFL distinguishes 15
16 between sports gambling and operators that 16
17 permit gambling on sporting events versus 17
18 those that are engaged in traditional 18
19 casino-type gambling such as roulette, Black 19
20 Jack or other cards. The NFL is concerned and 20
21 restricts sports gambling. There are 21
22 permission -~ there is permission granted to 22
23 our clubs to have sponsorship by either 23
24 lotteries or certain casinos as long as they 24
25 don't have a sportsbook, and there are also 25

 

 

HIGHLY CONFIDENTIAL - L. FERAZANI
A, I'm sorry, can you rephrase that or
repeat that?

Q. Sure. Let me break it down for

you. If you turn to the second page of this

document?
A. Yes.
Q. This is labeled Article IX

Prohibited Conduct, correct?

A. Yes. Um-hmm, yes.
Q. And Article IX is the same part of
the constitution that we were reviewing in the
previous exhibit, Exhibit 7, correct?
A. Yes. And you're missing a page.
Exhibit 8 goes from page 37 to 39.
Q. Yes, that's how it was filed.

MR. DREYER: Counsel, if there's a

duestion about that, I'm happy to address
it but it's your deposition.
MR. SIGLER: Are you offering to

address it?

MR. DREYER: Sure.
MR. SIGLER: Why?
MR. DREYER: What I think has been

marked as NFL 8 is the portion of the

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1 HIGHLY CONFIDENTIAL - L. FERAZANI
2 Constitution and Bylaws that were
3 appended to Commissioner Godell's
4 declaration in the Markell case. I
$ believe that to be so because of the
6 Pacer stamp on the top of the document
7 with the Case No. 09 CV 00538~GMS.
8 And so I believe that what has been
3 marked as NFL 8 was produced in this case
10 as a portion of Commissioner Godell's
il declaration in the Markell case.
12 BY MR. SIGLER (continuing):
13 Q. Mr. Ferazani, this portion of the
14 Constitution and Bylaws lists prohibited
15 conduct including gambling-related conduct
16 that the NFL prohibits. Correct?
17 A. Are you on Exhibit 7? or 8?
18 Q. Exhibit 8. So let me go back and
19 reask the question.
20 Mr. Ferazani, Exhibit 8 contains a
21 portion of the NFL's constitution that lists
22 types of prohibited conduct, correct?
23 A. It lists types of prohibited
24 conduct, yes, it does.
25 Q. And these prohibitions apply to NFL
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1 HIGHLY CONFIDENTIAL ~ L. FERAZANT
2 employees, players and officials, correct?
3 A. Yes.
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8 QO. So as of 2009, NFL clubs can enter
9 into sponsorship arrangements with state

10 lotteries?

11 A. With the prohibitions that the

12 lottery cannot be dependent on the outcome of
13 NFL games or sporting contests and the other
14 prohibitions listed within this three-page

15 document -- sorry, four-page document.

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8 (Exhibit 11: NFL Player Contract

9 CHPLAINTIFFS' 00001864-872), was marked
10 for identification.)

11 BY MR. SIGLER (continuing):

12 Q. Mr. Ferazani, you've been handed a
13 copy of a document marked Exhibit 11. Please
14 review this document and tell me whether you
15 recognize it.

16 A. I do.

17 Q. What is this document?

18 A. This is the standard NFL player

19 contract which is used in every -- it's the

20 form of every NFL player contract in the
21 League today. It's attached to our collective
22 bargaining agreement with the NFL Players
23 Association. But every player, then, has a

24 contract with thelr name and dollar figure set
25 up according to this form. Some of them may

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2 also have additional sections or roster
3 bonuses or the like. But the essence of every
4 contract is reflected in this Appendix A.
5 Q. Is this the current version of the
6 NFL player contract?
7 A. I believe it is.
8 Q. Do you know how long this version
g of the NFL player contract has been in effect?
10 A. I'm not -- the specific version?
11 Many years but I'm not sure. I'd be guessing
12 as far as how long.
13 Q. Can you turn with me, please, to
14 the page with the Bates number 1869 in the
15 bottom right-hand corner. Do you see
16 provision 15 at the bottom of the page,
17 Integrity of Game?
18 A, I do.
13 Q. Toward the middle part of that
20 paragraph, it refers to knowingly associating
21 with gamblers or gambling activity. Bo you
22 see that?
23 A. I do.
24 Q. Is that prohibited conduct for NFL
25 players?

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A. Yes, it is.

Q. And are they prohibited from
associating with gamblers or gambling activity
other than sports gambling?

A. They are prohibited from using
their images and likeness to market regular
casinos. They are prohibited from attending
even charitable casino nights. So, yes, they
are prohibited from associating with gambling
or knowingly associating with gamblers or
gambling activity, yes.

Q. And that prohibition applies beyond

sports gambling to all types of gambling,

correct?
A. It does.
Q. Why does the NFL not make the same

distinction in its player contract that it
makes elsewhere between sports gambling and
non-sports gambling?
MR. DREYER: Objection to the form
of the question. You can answer.
AY Actually, see this is a little more
difficult to answer. A player would be

permitted to go into a casino off-season that

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didn't have a sportsbook, they're prohibited
from gambling on sports. They're not
prohibited from going into a Nevada casino
where there would be legal gambling or I guess
they would not be prohibited from going into a
New Jersey casino with regular gambling.

So that's just to clarify that
issue between using their image to promote
such activity versus what they're entitled to
do on their own time. So I just wanted to
clarify that. So in clarifying that, I lost
your question. I'm sorry.
{Requested portion read.)
MR, DREYER: Same objection to the

form of the question.

A. I guess we do by the manner in
which we enforce it.

Q. So the NFL enforces this provision
paragraph 15 in a way that makes the
distinction between sports gambling and
non-sports gambling?

MR, DREYER: Objection to the form
You can answer.

of the question.

A. Well, it -- as within the text of

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2 paragraph 15, it's clear about the prohibition
3 for NFL players as far as engaging and betting
4 on NFL games. The association with gamblers

5 or gambling activities is enforced as those

6 who would participate in sports betting versus
7 regular card betting.

8 Q. Regular card betting would be

9 permitted, correct?
10 A. T£ it's legal and not on NFL

il property. They're prohibited from that and

12 any sort of gambling in the NFL clubhouses and
13 on NFL trips.

14 Q. So regular card betting would be

15 permitted if it is legal and it is not on NFL
16 property, correct?

17 MR. DREYER: Objection to the form
18 of the question. But you can answer.

193 A. Correct.
20 {Exhibit 12: NFL Gambling Policy
21 September 2008 (#PLAINTIFFS' 00003276-
22 281}, was marked for identification.)

23 BY MR. SIGLER (continuing):
24 Q. Mr. Ferazani, you've been handed a
25 document marked Exhibit 12. Please review
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1 HIGHLY CONFIDENTIAL - L. FERAZANI

2 this document and tell me whether you

3 recognize it.

4 A. {Examining document.)

5 This would be the NFL gambling

6 policy apparently in existence in September

7 2008.

& Q. Is this policy still in place

9 today?

10 A. The essence of the policy is.

ii However, as I've mentioned, we brought all of
12 the policies under one umbrella and

13 essentially I think it's a cosmetic change in
14 that they're all in one spot. But the essence
15 of this policy is still in effect, yes.

16 Q. At the top of the page, there is a
17 line that refers to an Administrative Business
18 Operations, League Rules and Policies. Do you
19 see that?

20 AY Yes.

21 Q. What is that?

22 A. There is a Business Operations

23 Manual with many different sections and

24 components. This is a section of that manual.
25 Q. What's the relationship between the

 

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANT
Business Operations Manual and the
Constitution and Bylaws?

A. I guess it would best be described
as this is the manner in which we enact the
principles reflected in the Constitution and
Bylaws.

MR. DREYER: And so the record is
clear, when the witness referred to
"this," I believe he was referring to
Exhibit 12.

THE WITNESS: Correct.

Q. Exhibit 12 is part of the Business

Operations Manual that you've been discussing,

correct?
A. Correct.
Q. Where does the Business Operations

Manual reside?
MR. DREYER: Objection to the form
of the question. You can answer.

A, I believe there's an electronic
version on our League Secretary, it's called.
It's an internal computer home page.

Q. Is it distributed to teams and

players?

 

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Q. Do these policies apply to all NFL
players, teams and employees?

MR. DREYER: Objection to the form
of the question. You can answer.

A. The policies reflected in the
administrative business operations apply to
League employees and club employees. The same
principle applies to players, but that reaches
them, for lack of a more artful term, through
the collective bargaining agreement and the
restrictions contained in their NFL player
contract.

{Exhibit 13: NFL Owner Involvement
in Gambling-Related Businesses, was
marked for identification.)

BY MR. SIGLER (continuing}:

Q. Mr. Ferazani, you've been handed a
document marked Exhibit 13. Please review
this document and tell me whether you
recognize it.

A. I do.

MR. DREYER: Counsel, this doesn't
have a Bates number on it. Was this

produced by our side of the case?

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A. It's not distributed to players.

It is distributed to teams and obviously
League employees.

Q. At the top of the first page, it
says: League policy strictly prohibits
associations with gambling in any form.

Do you see that?

A. I see that.

Q. Does this prohibition apply to all
types of gambling, including non-sports
gambling?

A. It -- players are permitted to go
to casinos in the off-season that don't have a
sportsbook and are not allowed to bet on NFL
games. League employees are similarly
permitted to go to legal casinos. The sports
prohibition is set forth farther down the
page.

Q. You may have already said this, but
when was this version of the policy in effect?

A. My read from the face of Exhibit 12
is that this was published as of September
2008. My suspicion is that it preceded that

but I don't...

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MR, SIGLER: I think it was an
attachment to the declaration.

MR. DREYER: Okay. To Commissioner

Godell's declaration, correct?

MR. SIGLER: Yes.
BY MR. SIGLER (continuing):

Q. So, Mr. Ferazani, do you recognize
this document, Exhibit 13?

A, It appears to be a section --
different section of the Administrative and
Business Operations Manual, a different part
of the same document that is reflected in
Exhibit 12.

Q. Can you put Exhibits 12 and 13 next
to each other, please. In Exhibit 12 flip to
the page that has the Bates number 3279 in the
bottom right-hand corner.

A. Yes.

Q. Is this portion of Exhibit 12
starting at 3279 the same policy that is
reflected in Exhibit 13?

A. Tf you like, I can read and just
track both of them together

MR. DREYER: I think the documents

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speak for themselves. But you can answer

as to your understanding.

A. {Examining document.)

Q. And just to be clear, Mr. Ferazani,

I'm not asking you to do a word-for-word

comparison. I'm just trying to understand if

they're the same policy. And I'll point out,

by the way, that in the bottom left-hand

corner, Exhibit 13 seems to say 10-11 and

Exhibit 12 says 9-08. So they very well may
be different in some minor way.

But having said all of that, I'm
just. trying to find out whether this is the
same policy about owner involvement in
gambling-related businesses.

A. This is addressing the same issue
which is owner involvement in gambling-related
issues. I believe you also have within our
production -- this is what I was discussing as
far as the cosmetic change when everything was
brought under one roof under gambling policy,
which has essentially the same prohibitions
and restrictions.

Q. Is Exhibit 13 a newer version of

 

 

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what is reflected in Exhibit 12?

A. It's either an identical version or
a newer version. And I'm basing that upon the
date in the lower left versus lower right
corners of Exhibits 12 and 13.

Q. On Exhibit 13 the date reflected in
the lower-hand corner is October of 2011; is
that right?

A. That's what I interpret that to
mean, yes.

{Exhibit 14: NFL Gambling Policy
(#PLAINTIFFS' 00003110-116), was marked
for identification.)

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
document marked Exhibit 14. Please review
this document and tell me whether you

recognize it.

AL Yes, I do.
Q. What is this document?
A. This is the new gambling policy

that I've alluded to in the past that was
presented on September 1, 2012.

Q. Is this part of the Business

 

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Operations Manual that we were discussing in
connection with Exhibits 12 and 13?

A. No. This is -- as I said, the
change in 2012 was that we brought --
revisited the gambling policy, clarified it,
and brought it under one standalone document
which is this document, Exhibit 14.

Q. So this document is not part of the
Business Operations Manual?

A. It's a standalone document. It's
also found on the Secretary and distributed to
all the League and club employees as the
Business Operations Manual. Honestly, I'm not
sure if the Business Operations Manual which,
you know, past day was actually a written
document, you know, hard paper, if that still
exists or, via the Internet, we've changed.

Q. Is this policy, Exhibit 14,
distributed to players?

A. The language in this document is
distributed to players but there’s posters in
the locker rooms, it's reflected in their
sports contract, and I believe they have a

smaller insert which every club is required to

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distribute to players reflecting this
information. It may just look different.

Q. Is this actual document,

Exhibit 14, distributed to players?

A. I don't know.

Q. Why did the NFL prepare this
document in September of 2012?

A. Well, it was prepared over the
course of months leading up to September 2012.
it reflected the fact that our gambling policy
was reflected in several different sections
and manuals, both the NFL player contract and
the Business & Operations Manual. I believe
that the parties that were responsible for
this, such as Mr. Birch and Mr. Palletti,
reviewed all of the policies and attempted to
make a more coherent and consistent policy.

Q. What prompted them to decide that
they needed to put together a comprehensive
gambling policy?

MR. DREYER: Objection to the form
of the question. You can answer,

A, I think Mr. Birch was promoted to a

-- in his role, it became a broader role with

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HIGHLY CONFIDENTIAL ~- L. FERAZANI
player engagement. I believe that they were
receiving more phone calls for clarification
about both what players were permitted to do
and not permitted to do and what clubs were
permitted to do and not permitted to do. And
there was some uncertainty because the policy
was housed in several different spots, and it
may have been somewhat antiquated in some of
the language. So they set about revising it,
tightening it and putting it in one document.

Q. Did NFL team owners approve this
document, Exhibit 14?

A. This was approved by the
Commissioner.

Q. It was approved by the Commissioner
but not the teams?

A. Correct.

Q. So how does this policy,
Exhibit 14, apply to players?

MR. DREYER: Objection to the form

of the question. You can answer.

A. The same way that any rule applies
to players. You know, for example, on page 2

of this exhibit, it more clearly defines what

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HIGHLY CONFIDENTIAL - L. FERAZANT
a definition of gambling, correct?
A. Yes, it does, page 1.
Q. Is this the NFL's official policy

regarding the meaning of gambling?

A. The NFL gambling policies, yes,
this is.
Q. Prior to this document in September

ist of 2012, did the NFL have an official
definition of gambling?

A. I'm not sure that it was set forth
in any specific document. I would imagine
that it was consistent with what is reflected
on page 1, but I'm not sure that it was ever
set forth in a specific place.

Q. What was the source for this
definition of gambling?

A. I don't know.

Q. Bo you agree with the definition of
gambling set out in Exhibit 14?

MR, DREYER: Are you asking for his
personal view as opposed to the NFL's
view?

MR. SIGLER: I'm just asking for

his -- yes, his personal view, yes.

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a player may or may not do in-season versus
off-season. It further defines gambling
associations in a way that actually is more
easily understandable in today's environment.

It defines more fully gambling-
related advertisement and it defines and sets
forth what players are allowed to do, and it
essentially sets forth what employees are
allowed to do.

Q. Did this policy, Exhibit 14, change
the NFL's gambling policy or simply combine
the NFL's existing policies into a single
document?

MR, DREYER: Objection to the form
of the question. You can answer.

A. It's a difficult question to answer
because it further defines certain aspects of
the policy. I would submit that it didn't
materially change anything but it did, you
know, for example, better define what players
can do. When it says you are prohibited from
associating with known gamblers, that's more
well defined in Exhibit 14.

Q. This document, Exhibit 14, contains

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MR. DREYER: You can answer if
you're able to.
A. This appears to be a good
definition of gambling, yeah.
MR. SIGLER: Let's go off the
record for a minute.

{Lunch recess taken: 1:16 p.m.)

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HIGHLY CONFIDENTIAL - L. FERAZANTI
AFTERNOON SES STON
{(Resumed: 2:00 p.m.)
(Exhibit 15: 2011 League Policies
for Players excerpt (#PLAINTIFFS'
00001854~857), was marked for
identification.)
CONTINUED EXAMINATION
BY MR. SIGLER:

Q. Mr. Ferazani, you've been handed a
document marked Exhibit 15. Please review
this document and tell me whether you

recognize it.

A. I do.
Q. What is this document?
A, It's the 2011 League Policy For

Players, a portion of that. This is the
portion regarding the gambling policy for
players.

Q. Is the League Policies for Players
in a book or notebook or something that is
passed out to players?

A. Yes.

Q. And is it distributed to players at

the beginning of each season?

 

 

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A, It is, usually with their play
books.

Q. Is there a 2012 version of the
League Policies for Players?

A. I believe the 2000 and -- there is.
I'm not sure if it was a -- they just reset
the same policy. I know that the 2012
overriding gambling policy was issued after
camp, so I'm not sure what was disseminated to
the players reflecting that policy.

Q. But there was a 2012 book
containing League Policies for Players that
was distributed to players at the beginning of
the season, correct?

A. I believe so, because this also
covers the drug and steroid policy and various
other aspects of their employment.

Q. Okay. And you said that the new
NFL gambling policy, which is Exhibit 14, was
not part of the 2012 League Policies for
Players that was distributed to players,
correct?

A. I know this was distributed in some

form to the players because I know we had a

 

 

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question from the union about it. I'm not
sure in what form it was distributed to the
players. I knew that this League policy book
is distributed with their play books when
camps open, which is typically at the end of
July.

So I know this wasn't rolled out
until September 1, I know this was after that.
So I'm not sure the form in which it was sent
to the union, but I know it was because the
union had questions about this policy.

MR. DREYER: Just so the record's
clear, the witness is referring to both
Exhibits 14 and 15.

Q. And you said that the union had a
question about this policy, meaning

Exhibit 14?

A. Correct.
Q. What was the question?
A. It had to do with the -~ I think

the definitional sections or it had to do with
the scope.
Q. Do you remember what the question

was?

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A. No. It was directed to Mr. Birch.
It might have been how it was going to be
distributed. I'm not sure.

MR. SIGLER: Anthony, while I'm
thinking about it, I would like to
request a copy of the 2012 League
Policies for Players.

MR. DREYER: That's fine. It would
be helpful to have it in writing, but I
understand the request. If we haven't
produced it and it exists, we'll make it
available.

MR. SIGLER: Okay.

BY MR. SIGLER (continuing):

Q. Turn with me, please, to the second
page of this document with the Bates number
1855 in the bottom right-hand corner. Is this
a gambling policy that is included in the
League Policies for Players distributed to
players?

A. It certainly was in 2011. I'm not
sure if the same form was in 2012. I just
don't know the answer to that.

Q. Okay. And in the middle of this

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page, there's a notice that this document says

is posted in every NFL locker room. Do you

see that?
A. On page 1855?
Q. Correct.
A. I know that it is. I just can't

find the reference here. Oh, I'm sorry, yes,
at the end of the first paragraph, yes.

Q. So the notice in the middle of this
page is posted in every NFL locker room?

A. The prohibition on bribes and
gambling, yes.

Q. Bo you know whether the notices
posted in every NFL locker room have been

changed with the new September 2012 gambling

policy?
A. I do not know that.
Q. Can you turn to the next page,

please, 1856.

A. Yes.

Q. Is this section, Frequently Asked
Questions, also part of the League Policies
for Players book?

MR. DREYER: Objection to the form

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of the question.

A. In 2011 it was. I think it was
actually -- 2011 it was.
Q. And do you know whether Frequently

Asked Questions are included in the 2012
version of League Policies for Players?

A. I'm not sure.

Q. When there was a question about the
new September 2012 gambling policy,
Exhibit 14, why did that question go to
Mr. Birch?

MR. DREYER: Objection to the form

of the question. You can answer.

A. Before -- well, he was the person
that was working on consolidation.

Q. And the question came in from the
union, you said?

A. Yes. That's why I know it was sent
out to the union and players. There was an
issue and I'm not sure of the specifics but it
was directed to Mr. Birch.

Q. Bo you know whether the NFL
gambling policy, Exhibit 14, went to all of

the players or just union representatives?

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HIGHLY CONFIDENTIAL - L. FERAZANI
A. It would have been distributed to
all the players.
Q. And how do you know that?
A. The essence -- well, that would be
the practice.

Q. How does something get distributed
to all of the players, as a typical practice?
A. Materials will be sent to each

individual club with the direction that it
must be sent, must be distributed to players
by a specific date and time. We also have
certain, as you referenced from prior
questions, certain posters and signage which
are required to be in every NFL locker room.

In addition to the gambling policy,

the drug and steroid policy posters are
required to be there. There's signage about
concussions. So those are how we send the
message.

(Exhibit 16: 2009 League Policies
for Players (#PLAINTIFFS' 00003273~274),
was marked for identification.)

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a

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document marked Exhibit 16. Please review
this document and tell me whether you
recognize it.

A. Yes, I do.

Q. Is this the 2009 version of the
League Policies for Players?

A. The gambling portion of the League
policies, yes.

Q. Thank you.

Were there frequently asked
questions included in the 2009 League Policies
for Players?

A. I suspect there were, but I can't
tell you definitively.

(Exhibit 17: Frequently Asked

Questions, was marked for

identification.

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
document marked Exhibit 17. Can you review
this document and tell me whether you
recognize it.

MR. DREYER: While the witness is

doing that, I notice this doesn't have a

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Bates number. Was this something
produced in the litigation?

MR. SIGLER: It's something we
found on the Internet. JI think it may be
something that should have been produced,
but that's how we found it.

MR. DREYER: All right. Was it
produced by your side?

MR. SIGLER: Look, Anthony, we've
had our e~mail exchange on this. If you
want to make an objection, go ahead and
make it. We don't need to make a record
now.

MR. DREYER: I'll make a record
that it is the Plaintiffs’ position that
use of this document violates the court
order. So we object to its use in the
deposition.

Is this a complete copy of the
document, Counsel?

MR. SIGLER: This is a complete
copy of what we found. I'm waiting to
hear from the witness, why don't we

handle it that way. Rather than you

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questioning me, why don't we --

MR DREYER: I'm just trying to
understand this document because it looks
like the first portion of the document
has been removed, so I was trying to get
some clarity on the issue.

MR. SIGLER: We did not make any
modifications to the document.

MR. DREYER: Okay.

BY MR. SIGLER (continuing):
Q. Bo you recognize this document?
A. I can't say that I've ever seen

this document before. And I'm reading from
the preamble; I'm not sure who would draft
something like this. It certainly seems to
reflect components of the new policy, but I
can't tell you who drafted it.

Q. Okay. Do you see in the second
paragraph, it says:

As part of that evaluation, the
staff reviewed the policies and practices
of the other major sports leagues,
conducted extensive fan research,

analyzed the likely impact of recent

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gambling~related legislative developments

at both the state and federal level and

surveyed all of their clubs.

A. I see that paragraph.

Q. Recognizing that you said you don't
recognize this document, do you know what that
sentence could refer to?

A. Other than what it's describing?

Q. Do you know what extensive fan
research this paragraph is referring to?

A. To my knowledge, other than our
understanding of our fans based upon our daily
operations, my understanding there were no new
studies commissioned, no new studies
commissioned.

Q. Do you know whether there was a
survey of the NFL's clubs as referred to in
this paragraph?

A. To the extent there was any survey,
most likely there were lawyers working for the
Business Ventures Committee having a
conversation with the members of the different
clubs to figure out what the different clubs

were doing. But to my understanding and

 

 

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knowledge, there was no specific formal survey
conducted.

Q. Can you turn to the last page of
this document, please.

A. Yes.

Q. Bo you see the subpart (g) at the
top of the document?

A. Yes.

Q. And do you see that it refers to a
payment to the NFL of 5 percent of the total

amount being paid by the advertiser?

A. I see that reference.
Q. Are you aware of that practice or
policy?

MR. DREYER: Objection to the form
of the question, lacks foundation. You
can answer,

A. I'm aware that 5 percent of the
total amount is supposed to be paid to fund
the League's gambling education and other
related programs, yes.

Q. So 5 percent of the amount paid by
a gambling-related advertiser to a particular

team needs to be paid to the NFL?

 

 

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A, 5 percent of a non-sports gambling-
related advertiser's revenue to a team must be
given to the NFL and passed through the NFL
for which it will be used to fund a specific
purpose, which is gambling education to
Prevent our players, coaches, officials and
other club and league employees from gambling

on sports.

Q. Is that a recent development?
A. Yes.
Q. Mr. Ferazani, I would like to talk

about fantasy football. Can you please
describe what fantasy football is.
MR. DREYER: Objection to the form
of that question. But you can answer.
A. Fantasy football --
MR. SIGLER: What's the objection?
To the form of the question?
MR. DREYER: Are you talking about
fantasy football generally or what the
NFL does? It's a broad and I think
open-ended question, but he can answer it
as best he understands it.

Q. Go ahead and answer the question.

 

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of the question.

A. Well, I think the outcome is each
week one fantasy football player's team
competes against another person from his
league's team or her league's team and
whichever team's players perform best on the
field for that week, that team will win in the
fan -- that fantasy contest. So it's based
upon how well the team ~- players an
individual selects perform. I guess that's
based upon statistical analysis.

Q. And with respect to the participant
in the fantasy football league who signs up
and drafts his players at the beginning of a
season, the outcome of the fantasy football
season will, in part, be determined based on
chance, correct?

MR. DREYER: Objection to the form
of the question as well as I think we're
past the witness’ 30(b) (6) topics. You
can answer if you understand it.

A. I'm not -- I guess it's -- there's
a point or points assigned for each category

and how your players perform on a given week

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A. Fantasy football is a game in which
fantasy players draft or select a team at the
beginning -- usually at the beginning of the
season or prior to the start of the season.
And they follow that team, and each player on
the team that they selected gets certain
points for how that player performs in real
live football games, be it yardage for
receivers or running backs, touchdowns,
points. I believe in some iterations, players
can select defenses and get points based upon
what the defenses do,

And the points are all accumulated
and each individual fantasy football team
competes against other individuals who have
their own teams for leagues, and whoever has
the most points at the end of the day wins a
specific game and then they play that through
the course of the League. I did it very
poorly, but I think that's the general gist.

Q. And the outcome of a fantasy
football league is determined, at least in
part, by chance, correct?

MR. DREYER: Objection to the form

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is what's going to determine whether or not
your team beats the other fantasy team you're
playing against.

To the extent chance -- I guess I
don't understand what you mean by chance has
some role in that. Does weather affect a
player's ability to perform in a given week?
Sure. An injury could occur. I guess if
that's what you mean by chance, then there's
certainly -- no one knows what anybody's going
to do in any given week.

Q. The outcome of a fantasy football
season is uncertain at the time someone signs
up and drafts their players, correct?

A. Yes.

Q. Mr. Ferazani, in some fantasy
football leagues, there is a financial prize
for the winner, correct?

MR. DREYER: Objection to the form
of the question. And the witness’
knowledge as to fantasy football games
generally, again, is beyond the scope of
the 30(b) (6). You can answer as to your

understanding.

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A. The fantasy football games that I'm
aware of, there's a prize but not a financial
prize. We have them in our NFL.com, but those
are you win a trip, I believe.

Q. And the trip has value, correct?

A. To our fans, sure. I think it's a
Super Bowl, a Pro Bowl trip.

Q. And are you aware of there being
fantasy football leagues where people play for

financial prizes?

A. Not personally, no.
Q. And I just want to be clear: You
say "not personally." Are you aware of any

fantasy football leagues where people play for
financial prizes?

A. No. I don't play fantasy football.
I know what we offer so I'm not -- I can't
tell you that there are others, other places
that you can go to and somehow win cash
playing fantasy football. The ones I'm
familiar with are run by us and you're either
playing for a prize but mostly you're playing
for bragging rights against the people against

whom you play.

 

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Q. Is the NFL aware that there are
fantasy football leagues that are played for
financial prizes?

A. The NFL is aware of the fantasy
football leagues that we run. I think that's
the extent of what I'm comfortable to testify
to.

Q. Are any of the fantasy football

leagues that the NFL runs for financial

prizes?
A. No.
Q. Are you aware that in some fantasy

football leagues, there is an entrance fee
paid by participants?
MR. DREYER: Objection to the form
of the question. You can answer.
A. Our fantasy football leagues that

we run there is absolutely no entry fee.

Q. I'm not sure you answered my
question.
A. I'm not familiar with other

leagues. I'm familiar with our leagues, the
ones that we run.

Q. So you're not aware of fantasy

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football leagues where the participants pay
entrance fees?

MR. DREYER: Objection; asked and
answered, lack of foundation. You can
answer,
A. No. And it would strike me as odd,

given that you could play on our forum for
nothing, why you would pay an entrance fee
somewhere else,

Q. Well, are you aware of fantasy
football leagues where the participants pay an
entry fee that goes into a pool and the winner
gets the proceeds from the pool?

MR. DREYER: Objection; lack of
foundation, asked and answered. You can
answer.

A. I'm familiar with our leagues which
are not operated that way. I'm not familiar
with your example.

Q. Let's talk about the NFL's
involvement in fantasy football. When did
NFL.com begin to offer fantasy football?

A. My belief--and I may not be exactly

certain on the specific year--but my

 

 

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understanding is that in '02 or '03 we took
over our -- the NFL.com. I think that's when
we began to offer fantasy football.

Q. And during the period 2002 or 2003
to present, has the NFL offered any fantasy
football leagues involving a financial prize
to the winner?

A. No.

Q. Has the NFL offered any fantasy
football leagues by which participants pay an
entrance fee?

A. No.

Q,. Prior to 2002 or 2003, did the NFL
license use of its marks to other fantasy

football sites?

A. I believe CBS ran our online
offering.

Q. And how far back did that go?

A. I don't know.

Q. Does the NFL license other fantasy

football sites today?
A. Not to my knowledge.
Q. And the NFL hosts today its own

fantasy football leagues on NFL.com, correct?

 

 

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A. That's correct, yes.

Q. Does the NFL make revenue from its
fantasy football leagues on NFL.com?

A. There's no entry fee, but i believe
that fantasy football, as offered by the NFL,
can serve to enhance our fan experience and
increase the loyalty of our fans. So to the
extent of that engagement, there's a benefit
a financial benefit, to the League.

(Exhibit 18: Fantasy Industry

Trends (#PLAINTIFFS' 00003511-557), was

marked for identification.)
BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
document marked Exhibit 18. Please take a
look at this document and tell me whether you
recognize it.

A. {Examining document.)

I don’t.
You don't recognize it?

A. {Examining document.)

MR. SIGLER: Anthony, can you tell
me whether this came from NFL's files or

any of your --

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deposition today?

A. I spoke with Cory Mummery, who is
in charge of our fantasy football offerings,
and spoke with Alicia Rankin, who's our fan
engagement or survey person who coordinates
that; reviewed legal documents about fantasy
football and went on our website and looked to
see what it was that we offered.

Q. Who's Cory Mummery?

A. He's an employee of NFL.com who
coordinates our fantasy football offerings.

Q. And what did you speak to Cory
Mummery about?

A. I asked him for an outline of what
it is that we offered, the rules of our games.
T asked him to produce certain documents. I
asked him for a general history of our fantasy

football offerings.

Q. And did he provide that to you?
A. He did.
Q,. Did he create a document for you,

or did he give you a package of preexisting
documents?

A. We had a telephone call in which he

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MR. DREYER: I don't think he
answered your last question. But it was
from the NHL's files.
BY MR. SIGLER (continuing):

Q. Mr. Ferazani, can you turn with me,
please, to the page in the presentation with
the Bates number 3548 in the bottom corner.

A. Yes.

Q. Do you see that this page reflects
a survey of what motivated consumers to start
playing fantasy sports?

A. That's what it says, yes.

Q. And do you see that number 5 is:

I thought I could win money?

A. That's what it says, yes.

Q. Does that surprise you?

MR. DREYER: Objection, lack of
foundation, to the form of the question.

A, I don't know what to tell -- I know
that they can't win money through the fantasy
football that we offer on our platform.

Q. Mr. Ferazani, what did you do to
familiarize yourself with the NFL's fantasy

football offerings for purposes of your

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provided me an overview of the information and
then he produced documents to me which I
forwarded to our counsel that potentially were
or were not responsive.

Q. Before preparing for this
deposition, had you dealt with Mr. Mummery at
all previously?

A. Never.

Q. Do any of your job responsibilities
involve fantasy football?

A. I will -- the first time I had to
involve myself with fantasy football was to
prepare for the document production in this
case.

Q. Can you turn with me, please, to
the page of the study with the Bates number
3550 in the bottom corner.

A. Okay.

Q. And do you see that this page
refers to how fantasy sports affect consumers?

A. That's what it says, yes.

Q. And do you see the second row from
the bottom says: I am more loyal to my

fantasy teams than my favorite professional

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teams?
A. I see that's what it says, yes.
Q. And the percentage agreeing with

that statement was 28 percent in 2006 and 26
percent in 2011?

A. That's what it says.

Q. Now, does this sentiment being

expressed by users of fantasy football concern

the NFL?
MR. DREYER: Objection, lack of
foundation.
A. I'm not sure what this represents

as far as who was sampled, ages, demographics,
how the questions were presented. I really
can’t comment on this, having looked at it for
the first time.

Q. Does the NFL acknowledge that some
of the users of NFL.com fantasy football may
be more loyal to their fantasy teams than to
their favorite professional teams?

A. I'm not sure that I've ever seen
any information to that effect.

Q. You haven't seen the information

one Way or the other on that, correct?

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A. I don't recall seeing information
one way or the other on that, no.

Q. If that is the case, is that a
concern to the NFL?

MR. DREYER: Objection; incomplete
hypothetical, calls for speculation. You
can answer.

A. Well, I don't think, in and of
itself, it would cause a concern. I think
that fantasy football serves a great purpose.
Tt allows our fans to further connect with
individual athletes. Typically our game is a
team sport and fans are related to a specific
team. For the individual athlete, fantasy
football changes the focus somewhat in that it
allows the fan to appreciate the efforts of an
individual athlete.

To can tell you that John Elway
whose Super Bowl winning in quarterback MVP
for the Denver Broncos a year ago or two years
ago, was put in charge of the football
operations for the Broncos. And one of the
first things he did was require his front

office to play fantasy football so that they

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were not so myopic only for the Broncos
players, but they had an appreciation for
other players across the League and they had a
really deep understanding of who else was
playing there and who was playing well and not
playing well. And it really helps to enhance
and develop our fantasy football folks
appreciation for the individual athletes.

So I don't know that this, in and
of itself, is cause for concern. I can't tell
you if it's true or not but...

Q. Does it concern you if people are
playing fantasy sports to win money and they
are more loyal to their fantasy sports teams
than their professional teams?

MR. DREYER: Same objection. You

can answer.

A. If the only purpose of a person is
to -~ is you're in the game to earn money for
whatever reason, be it he's playing fantasy
football and his only reason to watch or play
fantasy football is for cash without an
appreciation of the game, that does not

transfer to long-term fan affiliation and

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success. If you don't appreciate the game for
the game's sake and it turns into a financial
transaction, that is not good for the long-
term health of our League.

Q. Mr. Ferazani, the example you gave
of the Broncos having a fantasy sports

requirement from Mr. Elway?

A. Maybe encouragement would be a
better.
Q. Fair enough. Did the Broncos join

fantasy leagues on NFL.com or in other site?

A. I would hope it would be NFL.com.
Tt was reported to me by their former Director
of Operations.

Q. Do you know whether there was an
entrance fee for the League that the Broncos
joined?

A. No. There was absolutely no
entrance fee for the individuals to play. It
was -~ as fantasy football, it was designed to
be on our NFL.com platform which is there was
no financial -- there was no money changing
hands. It was for bragging rights, it was to

gain a greater appreciation for players on

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other teams.

Q. Did the Broncos run their fantasy
football league by the NFL before joining it?

A. There would be no reason for them
to do so as long as there was no gambling or
financial component to it. In fact, when the
NFL -- my understanding when the NFL started
and rolled out fantasy football on NFL.com,
many of our executives were asked to play and
did, in fact, play.

Q. Did Mr. Mummery search his files
for studies or analyses regarding the impact
of fantasy football on the NFL?

A. I directed him to, yes.

Q. And he produced to you all
responsive documents?

A. He told me he did, yes.

{Exhibit 19: Fantasy Sports Trade
Association, was marked for
identification.)

MR. DREYER: Once again, since this

is a document not produced in this
litigation by counsel and you persist in

violating the Court's order in this case,

 

 

 

 

 

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we're objecting to the use of this

document and all questions related to it.
BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
document marked Exhibit 19. Do you recognize
this document?

A. I don't.

Q. Do you know what the Fantasy Sports
Trade Association is?

A. I don't have the faintest idea.

Q. Can you turn with me, please, to
the third-to-last-page in the document. It
says Meet the Organization at the top.

A. The third-to-the-last page?

Q. Yes. Looking for the page with
Meet the Organization at the top.

A. Fourth from last?

Q. Fourth from last. We are on the
same page with Meet the Organization at the
top, correct?

A. Yes, I have that in front of me.

Q. Do you see that Cory Mummery is

listed second from the bottom on the far

right?

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2 A. I see that.

3 Q. In your discussions with

4 Mr. Mummery, did he mention that he was part

5 of this Fantasy Sports Trade Association?

6 A. He did not.

7 Q. Did Mr. Mummery search his files

8 for all documents regarding studies on fantasy
9 football and their impact on the NFL whether
10 they were commissioned by the NEL or not?

11 MR. DREYER: Objection to the form
12 of the question, mischaracterizes the

13 document request. But you can answer.

14 A. Yes.

15 Q. Can you turn with me, please, to

16 page 8 of the document. And unfortunately the
17 document does not have page numbers.

18 MR. DREYER: Or Bates numbers

ig but...
20 Q. The top left-hand corner says:
21 Meet the fantasy sports market.
22 Do you see that?
23 A. I do.
24 Q. And do you see that the box in the
25 middle of the page shows that 34 million U.S.

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2 adults are playing fantasy sports?

3 A. That's what it says, yes.

4 o Are you familiar with that figure?
5 A. I'm not.

6 Q And then at the bottom of that same
7 chart, it says 21 percent of U.S. males aged

8 18 to 34 play fantasy sports. Do you see

9 that?

10 A That's what it says, yes.

ll Q. Are you familiar with that figure?
12 A itm not, no.

13 Q. And then if you could turn to the
14 next page of the document, do you see the box
15 in the middle of the page that says: Which

16 fantasy games to they play?

17 A. I see that, yes.

18 Q. And it says football 72 percent?

193 A. I do see that that's what it says,
20 yes.
21 Are you familiar with that figure?
22 I'm not familiar with that figure
23 no.
24 MR. DREYER: I believe the copy
25 that we were provided by counsel is

 

 

 

 

 

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missing pages, so I would request on the
record that we be given a complete copy
of the document that was shown to the
witness. Again, this is one of the many
reasons why this entire approach is
improper.

MR. SIGLER: Anthony, there's a

{Exhibit 20: Fantasy Sports Trade
Association Industry Demographics, was
marked for identification.)

BY MR. SIGLER (continuing) :

Q. Mr. Ferazani, you've been handed a
copy of a document marked Exhibit 20. Can you
take a look at this and tell me whether you
recognize it.

MR. DREYER: And while the witness
is reviewing Exhibit 20, let me state
that this is yet another violation of the
Court's order by the Defendants in this
case. This is a document that was not
provided in accordance with the Court's
order, and we're seeing this for the

first time in violation of the Court's

 

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Q. And right below that it refers to
League fees of $36 per player accumulating to
$1.8 [verbatim] billion U.S. market share? Do
you see that?
A. I see that.

MR. DREYER: Same objection.

Q. And are you familiar with that
figure?

A. I'm not familiar with that figure
no.

Q. Have you heard any figures about

the market share of fantasy football in the
United States?

A. What do you mean by "market share"?

Q. Well, this is a market share figure
of $1.18 [verbatim] billion reflected in this
document, and I'm just asking whether you've
heard any figures regarding the U.S. market
share for fantasy sports.

A. I don't even know ~- that's the
U.S. market share of what? Of the total
fantasy market worldwide or...?

Q. Have you heard any dollar figures

or numbers of people associated with the size

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order.

MR. SIGLER: And, Anthony, since
you keep saying this, I feel compelled to
respond that we disagree with your
position on this. We've had e-mail
exchanges about it, you've made this
objection in the past. So I'll just
repeat that for the record.

MR. DREYER: Okay. We'll get a
warrant from the Court after today's
deposition.

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, do you see at the
bottom of the page there's a bullet point that
says: On average, fantasy sports players
spend $95 on League-related costs,
single-player challenge games and
League~related materials over a 12-month
period.

MR. DREYER: Objection, lack of

foundation. He can answer.

A. i see that's what it says.
Q. Are you familiar with that figure?
A. No, I'm not.

 

 

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of the fantasy football market in the United

States?

A. I have not, no.

 

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Q. And the NFL likes to stimulate use
of NFL.com, correct?

A. I think so, yes.

Q. Do you know why the NFL likes to
stimulate use of NFL.com?

A. NFL.com, in addition to hosting the

fantasy sites, has numerous articles about our
players, interesting games, leads to continued
fan involvement in the game and education.
I'm not sure honestly on the .com side if we
receive income per click or not. It's beyond
my area of expertise. But I think for those
reasons, if not also for the direct

financials.

 

  

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8 Q. And the NFL wants its fans to watch
3 games for other teams in addition to their
10 favorite team, correct?
il A. For the purpose of appreciating the
12 sport and appreciating the efforts of the
13 athletes on the other teams and for enhancing
14 the fan experience and deepening our ties with
15 that fan, yes, we do.
16
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22 Q. One would expect that a bettor
23 would want to watch the game that he or she
24 bet on, correct?
25 MR. DREYER: Objection, calls for
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2 speculation. You can answer.
3 A. Not necessarily. A bettor -- and
4 that's going back to our initial premise. A
5 bettor is viewing our game purely as a
6 financial transaction. The bettor isn't
7 concerned with the artistry of the sport, the
8 effort of the individual athlete. All the
9 bettor cares about is if his team covered the
10 spread or not.
11 To determine if he covered the
12 spread or not, he would just need to open up
13 the sports page the day after the game. It
14 actually is opposite to what the fantasy
15 football player would be interested. So I
16 disagree with the premise, but it's
17 speculative.
18 Q. So you don't think that bettors
19 watch the games that they bet on?
20 A. I guess some may. I'm not sure.
21 It's entirely speculation.
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13 A. I would say our focus is developing 13
14 fans for watching games for the right reasons 14
15 because that leads to the long-term success, 1s
16 as we discussed. Other leagues and other 16
17 sports where those sports have decided to 17
18 align themselves with gambling, they did not 18
19 have a very long period of success. And, 19
20 again, going back to Jai Alai, horse racing. 20
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16 Q. What’s Field Pass?

17 A. I believe it was the equivalent of

18 a pay service that allowed you to watch

19 out-of-network games from cable providers and

20 provide -- you paid an extra subscription and

21 were able to get either a feed of radio from
22 games that weren't in your market.

23 So, for example, if you lived in

24 New York and you were originally from Boston
25 and you wanted to listen to the Patriots radio

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2 call, you could get Field Pass.
3 Q. Was it a service through NFL.com?

4 A. I'm not sure. I'm not sure who --

5 where it was housed.

 

17 MR. SIGLER: Can we go off the

18 record for a minute, please.

19 MR. DREYER: Before we do, though,
20 I actually object to counsel's

21 characterization of the document which
22 speaks for itself.

23 We can go off the record.

24 MR. SIGLER: Okay.

25 {A discussion was held off the

 

 

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MR. SIGLER: I disagree with your
characterization but --

MR. DREYER: I don't know why you
can because you haven't seen the
document.

MR. SIGLER: I disagree with your
characterization of the Court order and

the category that we negotiated. And

 

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we've had our e-mail exchange and our
correspondence about this. I continue to
object. I'd like to reiterate the
request that you rectify this now so we
don't waste our time later.

MR. DREYER: I have the court order
so what did I mischaracterize about the
court order?

MR. SIGLER: Well, I sent you an
e-mail last night about it.

MR. DREYER: I understand. But you
directed me today to produce anything in
these documents related to fantasy
football. That's not as broad as your
request you drafted and not as broad as
the court order.

The court order says: Documents
regarding the impact or potential impact
of sports gambling, fantasy sports and/or
March Madness pools on consumer
perceptions or loyalties, competition,
integrity, ticket sales, attendance,
revenues or viewership ratings.

that's --

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MR. SIGLER: Look, we're not going

3 to waste more time on the record about

4 this. I sent you an e-mail last night

5 about it. We're going to move on. I

6 object. I think we’re entitled to the

7 entire document, and we're going to move
8 on. I take it you're refusing to produce
3 the entire document now, right?

10 MR. DREYER: Correct.

 

 

 

 

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12 MR. DREYER: We've been going for
13 about an hour and a half. If you're
14 going to move on, could we take a break.
15 MR. SIGLER: Let me do one more

document.

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5 MR. SIGLER: Okay. Let's take a
6 break.
7 {Recess taken: 3:27-3:40 p.m.)

 

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15 {Exhibit 26: Fantasy Football

16 Offering NFL.com (#PLAINTIFFS' 00003136-
17 3150), was marked for identification.

18 BY MR. SIGLER (continuing):

19 Q. Mr. Ferazani, you've been handed a
20 document marked Exhibit 26. Please take a

21 look at this document and tell me whether you
22 recognize it.
23 A. I believe we produced this in

24 response to the document request.
25 QO. And what is this?

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2 A. It appears to be our fantasy

3 football offering for 2012.

4 Q. This is the fantasy football

5 offering on NFL.com, correct?

6 A. Yes, correct.

7 Q. And how does fantasy football work
8 on NFL.com?

9 MR. DREYER: Objection to the form
10 of the question. You can answer.

1. AL My understanding is you sign up for
12 the service either as an individual or a team
13 and join an existing league, or you can create
14 your own league using the platform on NFL.com.
15 Q. And participants draft players for
16 their fantasy football team, correct?

17 A. That's correct, yes.

18 Q. And then they set their lineups
19 throughout the season and accumulate points,
20 correct?
21 A. Correct. Depending on how their
22 lineups perform in actual games, correct, yes.
23 Q. And then the winner of the fantasy
24 football league on NFL.com is determined by
25 how many points are accumulated throughout the

 

 

 

 

 

 

 

 

 

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2 season, correct?

3 A. That's correct, yes.

4 Q. At the time a participant drafts

5 his or her team at the beginning of the

6 season, the outcome of the fantasy football

7 game is uncertain, correct?

8 A. True, yes.

9 Q. And NFL.com offers a prize to the
10 winner of its fantasy football game, correct?
iL A. Several prizes, I believe, yes;

12 grand prize, first prize, et cetera, yes.
13 QO. And turning to page 12 of the
14 document with the Bates number 3147 at the
15 bottom right-hand corner, there's a list of
16 prizes, correct?
17 A. Yes.
18 QO. And the grand prize is a package of
19 items valued at $16,600. Correct?
20 A. Well, it's a trip to the Super Bowl
21 and various other elements including a
22 tailgate party and gift bags and other events
23 and material related to the National Football
24 League, yes. And there's a retail value
25 listed on that of $16,600.
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2 Q. And can you turn back to the first

3 page of the slide, 6136.

4 A. Yes.

5 Q. Do you see that there is an all-

6 capital paragraph under Official Rules that

7 starts with the statement: No purchase or

8 payment of any kind. Do you see that?

9 A. I do see that, yes.

10 Q. And do you see that the second
lL sentence of that paragraph says: This
12 promotion may not be used to conduct,
i3 advertise or promote any form of gambling?
14 A. I see where it says that.
15 MR. DREYER: I'm sorry, I think
16 unless I'm looking at a different page, I
17 don't think that's quite what the
18 document says but it's close.
19 MR. SIGLER: What does it say,
20 Anthony?
21 MR. DREYER: The third sentence
22 you're talking about: This game may not
23 be used to conduct, advertise or promote
24 any form of gambling? Are we looking at
25 the same place?
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MR. SIGLER: Mine says "this
promotion." We're looking at a different
paragraph.
MR. DREYER: Okay.
BY MR. SIGLER (continuing):
Q. Look at the ali-caps paragraph.
The second line of the all-caps paragraph
says: This promotion may not be used to

conduct, advertise or promote any form of

gambling.
MR. DREYER: Thank you, yeah, I've
got it.
Q. So we're all there now.

Mr. Ferazani, are you there?

A. T was there earlier.

Q. Okay. Why does the NFL include
this statement on its fantasy football league
website?

MR. DREYER: I would caution the
witness, in answering that, not to
disclose any attorney-client
communications or any legal advice
received by counsel. You can answer the

question if you're able to.

 

 

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A. I'm not sure of the purpose of the
-- why do we include that? I'm uncertain if
there's certain restrictions or warnings that
should be included. But I think it's also
self-explanatory; it's not designed to use
this device to conduct, advertise or promote
any form of gambling.

Q. And is the NFL concerned that
without this statement people would use
NFL.com to conduct gambling?

A. I'm not sure I can answer that. I
don't know.

Q. Does the NFL think that including
that statement will prevent people from
conducting gambling?

MR. DREYER: Objection to the form
of the question.

A. Certainly they've been instructed
not to use it to do so.

Q. Bo you see on the left-hand side of
the page there are three gray rectangles. One
says General Rules, one says NFL Managed
Leagues and one says Custom Leagues?

A. I see that.

 

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Q. What are custom leagues?

A. My understanding is that that would
be if you wanted to run your own league with
specific points. There's a variable within
fantasy football if you want to promote
passing versus running. My understanding is
that you can point -- the points assigned for
different activities can vary from league to
league.

Q. So is it the case that the NFL.com
site provides two types of leagues: one
that's managed by the NFL and one that is
managed by a participant in the League?

A. I'm not sure that "managed" is the
right term. I think some of the leagues on
NFL.com are made up or populated of players
who come in and just want to pick their own
team and don't necessarily have a group of
other friends that they want to play against
and they can play against a league that's run
against the people they don't know run by the
League, by the NFL.

I think in other instances there

can be a group of people that come in with a

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predetermined amount of folks and they want to
set up their own league and assign specific
points for certain offense or defense or
perhaps differently from what the NFL's
standard league has set up.

Q. So if a group of ten people wants
to get together and have its own league, they
could do so through this custom league option?

A. I believe that's the manner in
which they would do so, yes.

Q. Do you think that a grand prize of
$16,600 is sufficient to create a financial
interest in someone?

MR. DREYER: Objection to the form
of the question.

A. I think you've mischaracterized the
prize as we've discussed and as it's reflected
in Exhibit 26. The prizes, all three prizes
actually, that are reflected under this
Fantasy section are directly related to our
game and appreciation of the game. A trip to
the Super Bowl, a trip to the parties around
the Super Bowl, airfare; they're all game-

centric prizes. They're all designed to

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deepen the winning fan's relationship and
appreciation of the sport.

The second prize, a trip to London
for the London game, the same thing; it's
focused on the game. It's focused on a unique
game that we have, an international aspect of
our game.

And the third prize which is listed
~- the second prize, a credit to buy NFL
merchandise. So it's not a cash prize; it is
designed to, again, deepen that winning fan's

relationship with the League and clubs and the

sport.

 

 

 

 

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Q. So the NFL provides these leagues
and these prizes to encourage people to watch
more football, correct?

MR. DREYER: Objection to the form

of the question.

A. And to deepen their relationship
with each individual fan because it educates
each individual fan about players, not
necessarily on their own teams. It allows
them a greater understanding of the game.

And going back to the answer from
earlier today, in the analogy given with the
Denver Broncos and John Elway, it allows for a
fan to develop their understanding and
appreciation of the game more deeply. That
leads to a better fan for the NFL, a more

committed fan, a more involved fan, a fan more

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likely to avail themselves of the various
products that the League offers.

Q. And the League wants to deepen its
fans' interest in the NFL so that they watch
more football and participate in other NFL
products of the type you just mentioned,
correct?

MR. DREYER: Objection to the form
of the question. You can answer.

A. I would say the interest and
appreciation and understanding of the game.
With that clarification, yes.

Q. You want them to have an
appreciation of the game so that they will
watch the game, correct?

MR. DREYER: Objection,
mischaracterizes the witness’ testimony.

You can answer,

A. That's a fair characterization.
The more that you appreciate the sport and the
game, we believe you will have more of an
appreciation which will lead you to watch it
more often.

(Exhibit 27: NFL.com website, was

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marked for identification.)

MR, DREYER: Again, I just object
to the use of a document not previously
produced and it violates the court order
in this case.

MR, SIGLER: Objection noted and
disagree. We'll move on.

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
copy of a document marked Exhibit 27. Please
take a look at this document and tell me
whether you recognize it.

A. I don't. JI can see what it appears
to be.

Q. And I will represent that we
printed this from the NFL.com website because
we wanted to understand more about how the
products work.

Can you turn with me, please, to
the second page of the document. Do you see
towards the top of the document, it says:

What is the Fees link reference near the top
of the League Home Page? Isn't NFL.com

Fantasy Football 2012 totally free?

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HIGHLY CONFIDENTIAL - L. FERAZANI

Do you see that?

A. Yes.

Q. And then below that do you see: In
custom NFL.com fantasy leagues, the League
manager can calculate and track fees
associated with his or her league through the
Fees tool. The option exists for custom
league managers to set up, at their
discretion, fees for the following: player
ads, trades and initial league fees.

The Paid and Balance columns help

League managers convey current fees owed to
all team owners. Access the Fees tool by
navigating to Fees in the League Home Page.
From this page, team owners can view current
fees and balances and league managers can edit
these values?

Do you see all of that?

MR. DREYER: Will you read the
entire paragraph, since you're going to
read it, for the complete record.

Q. The last sentence says: To
reiterate, all NFL.com fantasy football

leagues are free to join, create and play.

 

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A. I don't know what that means or why
there would be a league fee for something that
is, as it says in the last sentence, free to
join, create and play.

Q. Well, do you understand that what
this is saying is that a league manager could
decide to set a fee for participants in the
league to pay when they enter the league?

MR. DREYER: Same objection. You
can answer.

A. And I'm at a disadvantage. As I
said, I don't play fantasy football or I've
never gone through our site to set up a game
or team so I'm not sure what that refers to.

T can read it along with you. I can't give
you any more information as far as what this
means.

Q. But you understand what this is
saying, just reading it with me, that the Fees
page allows a league manager to set an initial
league fee for a fantasy football league.
Correct?

MR. DREYER: Objection; foundation,

asked and answered.

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HIGHLY CONFIDENTIAL - L. FERAZANI
Do you see that?
A. I see all that, yes.
Q. So are you familiar with the Fees
page on NFL.com?
A. I'm not.
Q. Do you see that the Fees page is

available to track fees for custom fantasy

leagues?
A. I see that.
Q. And do you see that one type of fee

that the Fees page is set up to track is the

initial league fees?

A. I'm not sure what that means.
QO. Well, do you see that it says that?
A. The option exists for custom league

Managers to set up, at their discretion, fees
for the following: player ads, trades and
initial league fees. I see that.

Q. And so do you understand that that
means that, in a custom league on NFL.com, the
League manager can set up an initial league
fee for the fantasy football league?

MR. DREYER: Objection as to

foundation. You can answer.

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A. And, again, I don't know what that
means as far as an initial league fee since
it's free to join, create and play. I don't

know what it means.

Q. Well, NFL.com is free to use,
correct?

A. That's correct.

Q. But if ten friends set up a fantasy

football league, the ten friends could agree
to put in an initial fee, correct?
MR. DREYER: Object as to
foundation.

A. Again, I'm not -- what ten people
decide to do, they could do anything they
wanted to do, I imagine. Zi don't play this, If
don't know what this means.

Q. And according to this provision,
NFL.com would allow a group of ten people to
get together, set up a league and put in an
initial league fee. Correct?

MR. DREYER: Same objection as to
foundation.

A. According to this provision,

there's an option for a custom league manager

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HIGHLY CONFIDENTIAL - L. FERAZANI
to set up an initial league fee.

Q. And are you familiar with any kind
of fantasy football league that involves an
initial league fee?

A. I'm sorry, I'm not.

Q. Do you know what would happen to an
initial league fee in a league like this that
involves an initial league fee?

MR. DREYER: Objection. There's
absolutely no foundation. Are you just
asking the witness to guess? You have
the objection.

A. I don't know how that league fee
would be collected, would be assigned or what
it would be for, I know that to play NFL.com
fantasy football, it's free to join, create
and play. That's the extent of my
understanding.

Q. Do you know whether NFL.com tracks
the fees set by participants on NFL.com?

A. T don't know.

Q. Bo you know whether there's any
limit on the fees that can be set by a league

Manager on NFL.com?

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and the winner of the league would win the
pool?

A. I'm not sure if that meets the

legal definition for criminal gambling. I'm

not sure.
Q. What about your definition?
A I'd have to go back and --
Q. You may be looking for Exhibit 14.
A Thank you, yes.
Q. This is the NFL's definition of

gambling, correct?

A. Um- hmm.

Q. So if a fantasy football league
were established on NFL.com where the
participants paid an initial league fee into a
pool and the winner of the league won the
pool, would that qualify as gambling under the
NFL's definition?

A. {Examining document.

I don't know. I don't believe it
would, given that our definition folks on a
specific event with uncertain outcome
[verbatim].

Fantasy football has to do with --

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HIGHLY CONFIDENTIAL - L. FERAZANI

A. I don't know.

Q. What do you think an initial league
fee would be for if not for a pool from which
a prize could be drawn?

MR. DREYER: Objection; calls for
speculation, lack of foundation.

A. itd be guessing.

Q. Bo you see anything in this
provision or anything else that you've seen on
NFL.com that would prevent a league manager
from setting up a pool with initial league
fees and paying a prize to the winner?

MR. DREYER: Objection, asked and
answered. The rules speak for
themselves. But you can answer,

A. Again, I'm not sure if that would
constitute gambling and, if so, under the
first page of Exhibit 26, if it is gambling,
it would violate what is set up in the first
page of the NFL.com Fantasy 2012 Official
Rules.

Q. Would it be gambling if a
participant in a fantasy football league paid

an initial league fee that went into a pool

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HIGHLY CONFIDENTIAL - L. FERAZANI
by the -~ in the hypothetical that you've just
presented, with members of a league, each who
would have their own teams engaging in
transactions over the course of that season,
tracking individual players that they retain
or choose to discard against other players
making similar decisions based on the relative
skill levels of the players from whom they can
select.

Q. At the time someone drafts their
fantasy football team and enters the fantasy
football league, the outcome of that league is
uncertain, correct?

A. That's correct.

Q. So how is a fantasy football league
not an event that involves an uncertain
outcome?

MR. DREYER: Objection to the form
of the question, incomplete hypothetical.

You can answer.

A. Both points are gathered over the
course of an entire season which would be at
least 16 games for players, each individual

player -- you know, it's a series of events,

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so to speak, and it's a game in which the
winner is determined by points over that

entire series, not based upon one of our

games, one of our events. By “our I mean NFL
contests.
Q. So are you saying that an NFL

fantasy football league does not constitute
gambling under the NFL's policy because it
involves multiple games as opposed to a single
game?

MR. DREYER: Objection to the form
of the question, mischaracterizes prior
testimony. You can answer.

A. Because it's not a wager ona
specific incident or specific event in which
the outcome of that wager is determined by
that specific event. I also know that I
believe under Yu-Gi-Oh! [phonetic], by the
legal definition of what is gambling, the
hypothetical you presented is not gambling.
But that's straying into legal opinion.

QO. Earlier today I asked you whether,
if you and I placed a wager on how many yards

or touchdown passes Tom Brady would have

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through the entire season, that would
constitute sports gambling. Do you recall
that?

A. I remember that somewhat.

Q. And you agreed with me that if we
were to place a wager on that, that it would
involve sports wagering, correct?

A. Whether Mr. Brady made X amount of
touchdowns or not, yes.

Q. So how is the situation we're
talking about now with fantasy football any
different in terms of involving multiple games
as opposed to a single game?

MR. DREYER: Objection to the
extent it calls for a legal conclusion
and mischaracterizes the witness!
testimony.

A, Fantasy football is based upon the
performance of numerous players who are
playing in numerous real games scattered over
the course of a season. What you alluded to
in your hypothetical is whether or not one
player, over the course of a season, can hit a

specific predetermined number of whatever

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HIGHLY CONFIDENTIAL - L. FERAZANT
statistical total.

That's different from fantasy
football as defined under the Unlawful
Internet Gambling Act and as also defined, in
my understanding, by federal law. Fantasy
football has enough variables where there's so
many players on each individual team where
you're accumulating points that it's not
dependent upon the performance of one specific
player or one specific -- or the outcome of
one specific game.

Q. So to be considered gambling under
the NFL's gambling policy, the wager would
need to involve a single game or a single
player?

MR. DREYER: Objection,

mischaracterizes the witness' testimony.

He was not testifying as to the NFL's

policy. But he can answer.

A. Under our policy broadly, a gamble
or a bet is a financial transaction in which
the winner or loser is determined by the
outcome of a specific event such as a wager on

a game, for a specific occurrence such as who

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scores first, or a specific single player's
performance over the course of a season.
Fantasy football is not that.

The analogy you're attempting to
make between gambling and betting and fantasy
football is not apt. Fantasy football is
dependent upon the performance of numerous
players on different teams as compared to the
performance of other players on other teams as
they perform each week in and out.

It's also dependent upon the
decisions made by each individual team owner,
and team owner in quotes as far as the fantasy
football team owner. And at the end of the
day, at the end of the season, whichever team
owner has made the selections which result in
the highest number of points, after all of
those variables are calculated, is the winner.
That's different from a bet dependent upon a
single game, a single event or a single
player.

Q. Is there something in the NFL's
gambling policy, Exhibit 14, that you think

supports the distinction you're making between

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HIGHLY CONFIDENTIAL - L. FERAZANT
a wager on a single event and fantasy football
which involves an entire season?

MR. DREYER: Just note my objection
because the questions are going back and
forth between federal law and the NFL's
policy, and I'm not sure they're clear
anymore. But you can answer.

MR. SIGLER: For the record, I've
only been asking him about Exhibit 14,
itm still only asking about Exhibit 14.
He's made reference to the policy once or
twice, but our discussion right now is in
the context of Exhibit 14.

BY MR. SIGLER (continuing):

Q. Just to be clear, is there
something in Exhibit 14 that supports the
distinction you're making between wagering on
a single game versus a fantasy football league
which involves an entire season?

A. I would say that the Section 3,
Chance, the use or exercise of skill, strategy
and/or knowledge, it completely negates the
element of chance and does not convert an

activity into something other than gambling.

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Q. And how does that provision support
the distinction you're making?

A. I believe that that is the
distinction made as far as why fantasy
football is considered a permitted activity
versus a gambling event or a bet.

Q. Do you think that the use of skill
strategy or knowledge in playing fantasy
football completely negates the element of
chance?

A. I believe that, as it's applied to
fantasy football, that is why fantasy
football's not interpreted to be gambling
under our policy or under law.

Q. But no matter how much skill you
have in playing fantasy football, your best
player could be injured due to chance,
correct?

MR, DREYER: Objection,
argumentative. You can answer.

A. Presumably a successful manager of
a fantasy football team has a deep enough
bench to overcome that.

Q. So the distinction you believe is

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HIGHLY CONFIDENTIAL - L. FERAZANI
supported by the fact that fantasy football
involves skill, strategy or knowledge?

A. I think primarily the distinction
is that the federal law has said that fantasy
football is not gambling.

{Exhibit 28: Title 31 - Money &
Finance, was marked for identification.)

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
copy of a document marked Exhibit 28. This is
a printout of the part of the federal code
that incorporates a prohibition on funding of
unlawful Internet gambling.

Is this the federal law that you

were referring to?

MR. DREYER: Same continuing
objection with respect to documents not
previously produced in accordance with
the Court order. You can answer.

A. {Examining document. }

Again, I'm not sure. I know that

we had outside counsel review the fantasy
football offering prior to it being presented.

And my understanding is the opinion reached

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HIGHLY CONFIDENTIAL - L. FERAZANI
was that fantasy football is not gambling.
It's an opinion that I have due to the fact
that it's readily available throughout the
Internet and from the studies you've shown me
that explain the distinction between fantasy
football and sports wagering as to the extent
that impacts the National Football Colleague
where the National Football League has
embraced fantasy football and is fighting
sports gambling.

Q. So you think the distinction
between sports gambling and fantasy football
is that the NFL has decided to make that
distinction?

MR. DREYER: Objection,
mischaracterizes the witness' testimony.

A. That's not what I said.

Q. Can you explain what you meant when
you said that the National Football League has
embraced fantasy football and is fighting
sports gambling?

A. Yes. As I've explained, the
distinction between fantasy football and

gambling is set forth in federal law. Again,

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HIGHLY CONFIDENTIAL - L. FERAZANI
that's relying upon other outside counsel's
opinion rendered before we offered --

MR. DREYER: Again, just I'd
caution the witness not to disclose any
attorney-client communication.

A. My understanding being that fantasy
football is not gambling pursuant to federal
law. The distinction between fantasy football
and gambling, as it impacts the National
Football League, is that fantasy footbali
serves a purpose to deepen our roots and our
relationship with our fans and with our most
quote, diehard, unquote, fans.

Gambling is detrimental to that
relationship, to a relationship with our fans,
and does not lead to a long-term relationship
with fans as fantasy football does.

Q. Mr. Ferazani, you have in front of
you Exhibit 14 which is the NFL gambling
policy, you have Exhibit 28 which is the
statute that you referred to. I'd just like
to make sure that I understand the distinction
that you're making between fantasy football

and sports gambling.

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HIGHLY CONFIDENTIAL - L. FERAZANI
Apart from the NFL's interests, why
is fantasy football any different than sports
gambling?

MR. DREYER: I think now you're
asking for the witness to offer legal
conclusions. You've gone beyond 30(b) (6)
territory. The witness can answer as to
his understanding without disclosing any
attorney-client communications.

A. Just to clarify, I'm not sure that
what's been marked as Exhibit 28 is what we
relied upon in reaching the conclusion. I
know from the documents that you've shown me
as well as from the fact that NFL.com offers
fantasy football, it is not illegal gambling;
it is authorized under federal and state law.

Sports gambling, betting on NFL

games, is iliegal in every state but those
exempted under PASPA. That is the distinction
on which we rely.

{Exhibit 29: Fantasy football
offering NFL Rush program (#PLAINTIFFS'
00003174-3181), was marked for

identification.)

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HIGHLY CONFIDENTIAL - L. FERAZANI
BY MR. SIGLER (continuing):
Q. Mr. Ferazani, you've been handed a
document marked Exhibit 29. Please take a
look at this document and tell me whether you

recognize it.

A. I do.
Q. What is this document?
A. This appears to be the fantasy

football offering under our NFL Rush program,
which is geared more to the youth.

Q. And it looks like from the
Eligibility section on the first page of this
document, that children between ages of 6 to
15 are eligible to participate in this fantasy
football game. Correct?

A. Correct.

Q. And do you see the statement right
above that in bold that says: This game may
not be used to conduct, advertise or promote
any form of gambling?

A. I see that.

Q. Is the NFL concerned that, if not
for that statement, seven-year-olds would be

gambling?

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A. I'm not sure if there's a iegal
requirement for that to be on the rules
section or not.

Q. Bo you know what the history is
behind the NFL's offering of a product
targeting 6- to 15-year-olds for fantasy
sports?

MR. DREYER: Objection to the form

of the question. You can answer.

A. I'm not sure what you mean by “the
history." Meaning how long it's been offered?

Q. Yes.

A. I'm not sure.

Q. Is the purpose of this product, NFL

Rush, to try to engage children between the
ages of 6 and 15 years old at an early age?

A. Engage them in the NFL, the League
and our athletes, yes.

Q. Can you turn with me, please, to
the page with the Bates number of 3179 in the
bottom right-hand corner.

A. Yes.

Q. And do you see the Prizes section

that refers to a grand prize that includes all

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HIGHLY CONFIDENTIAL - L. FERAZANI
of the following? I'm not asking you to read
the whole section.

A. Um-hmm.

Q. Do you see that the first part of
the grand prize is a $10,000 scholarship, in
quotes, awarded in the form of a check?

A. I see that.

Q. Bo you know why the word
"scholarship" is in quotes?

A. I would guess that it's a
specifically defined term or -- I'm not sure
why they would put it in quotes.

Q. Could it be because it's being
issued in the form of a check that could be
used for any purpose regardless of whether
it's a scholarship?

A. Honestly i'm not sure.

Q. Do you think that a $10,000
scholarship would create a financial interest
in the outcome of this fantasy football
leaque?

A. If it's a scholarship, it's
consistent with the other principles of NFL

Rush, which is developing youth or enhancing

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HIGHLY CONFIDENTIAL - L. FERAZANI

A. I'm not sure what you -- is a
$10,000 scholarship something that someone
would want? Yes, I would imagine they would
want that. That's probably why it's a prize.

Q. And the parents would want it, too,
in addition to the seven-year-olds who are
participating, correct?

A. As the father of three daughters,
yes, I would like that as well.

Q. Is the NFL concerned that
participants in this NFL Rush fantasy football
league will be watching NFL games because of
their interest in collecting a $10,000 check
rather than in deepening the bonds of loyalty
between the fans and their teams?

A. First it is a $10,000 scholarship.
The money is used to ~- and I'm interpreting
the term "scholarship" to mean for the

continuing education of the winning

participant.

 

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
youth's athletic endeavors and educational
opportunities.

Q. The winner of this NFL Rush fantasy
football league gets $10,000, correct?

MR. DREYER: Objection,
mischaracterizes the rules.

A. They receive a $10,000 scholarship
awarded in the form of a check.

Q. The winner gets a check that says
$10,000, correct?

A. I'm not sure.

Q. Well, they get a $10,000
scholarship awarded in the form of a check,
correct?

MR. DREYER: The rules speak for
themselves. You can answer.

A. They receive a $10,000 scholarship
awarded in the form of a check, yes.

Q. So is a $10,000 scholarship awarded
in the form of a check a large enough prize to
create a financial interest in the outcome of
this fantasy football league?

MR. DREYER: Objection to the form

of the question. You can answer.

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So it is for all those reasons that
we want to have younger players to engage in
fantasy football to develop a deep bond that
will last into their -~- for the rest of their
lives during which they will continue to
consume our product.

Q. So the NFL's not concerned about
the possibility that children will be watching
their games for the wrong reasons?

MR. DREYER: Objection, asked and
answered.

A. If they're watching the games for
the reasons I've just outlined, those are the
right reasons.

Mr. Ferazani?

A. Yes, sir.

Q. The NFL Network has shows that
focus on fantasy football, correct?

A. I believe it does, yes.

Q. Are you familiar with the show

called NFL Fantasy Live?

 

 

 

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A. I believe I've seen it.

Q. Are you familiar with the segment
on the show called That Helps No One?

A. No, I'm not.

(Exhibit 30: NFL.com NFL Fantasy
Live, was marked for identification.)

MR. DREYER: Same objection with
respect to documents not produced -- use
of documents not produced in accordance
with the Court's order.

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
copy of a document marked Exhibit 30. This is
a printout from NFL.com discussing NFL Fantasy
Live. Do you see that?

A. That's what this appears to be,

Q. The big black box in the middle is
where the video is displaying on line which
obviously does not print out. But do you see
right underneath the black box, the statement
that says: Adam Rank and the NFL Fantasy Live
crew go through the players in Week 4 that

helped no one by stealing touchdowns from your

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HIGHLY CONFIDENTIAL - L. FERAZANI

starters"?

A. That's what that says, yes.

Q. Do you know what that means?

A. I don't know.

Q. Do you know who Adam Rank is?
A. I do not.

OQ. Do you understand what it would

mean for a player to steal a touchdown from
someone's starters?
MR. DREYER: Objection, asked and
answered.

A. I can speculate, but that's what
that would be.

Q. How would you speculate on that?

MR. DREYER: Objection, calls for
speculation in the form of the question
that was asked.

MR. SIGLER: I'll withdraw the
question.

Q. Do you understand that what this is
saying, Mr. Ferazani, is that persons who
aren't starters on someone's fantasy football
leagues when they score touchdowns are, in

effect, stealing touchdowns?

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HIGHLY CONFIDENTIAL - L. FERAZANI
MR. DREYER: Objection. Mr.

Sigler, now you're testifying. The

witness has no foundation for this

document. But you can answer if you're
able to.

A. If I was to speculate, that would
be the direction in which I would speculate.

Q. Does this sentiment that a player
is stealing a touchdown from another player
deepen the bonds of loyalty between the NFL's
fans and its teams?

A. I think it's consistent with the
premise of fantasy football where a fantasy
football owner has players that he's selected
across the League on various teams and he
wants to do well so that he can get points for
his team that week. The essence of the NFL
both in our actual games and in fantasy
football is competition, so I don't believe
that this is inconsistent with that premise.

{Exhibit 31: NFL.com NFL Fantasy

Live, was marked for identification.)
BY MR. SIGLER (continuing):

OQ. Mr. Ferazani, you've been handed a

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document marked Exhibit 31. This is --

MR. DREYER: Let me once again
renew my objection to documents being
used by Defendants that have not been
previously produced.

BY MR. SIGLER (continuing):

Q. Mr. Ferazani, this is a printout
from NFL.com that also concerns NFL Fantasy
Live. Do you see that?

A. That's what this appears to be.

Q. And it specifically relates to a

segment on NFL Fantasy Live that says Show Me

the Money?
A. That's what it says, yes.
OQ. Underneath that it says: Actor

Jerry O'Connell and the NFL Fantasy Live crew
explained which slacking players need to step
up and prove they are legitimate starters in
fantasy leagues.
Do you see that?

A. That's what it says, yes.

Q. So based on that statement, do you
have an understanding of what “show me the

money" means?

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HIGHLY CONFIDENTIAL - L. FERAZANI
MR. DREYER: Objection; lack of

foundation, calls for speculation. You

can answer,

A. I don't know why it’s labeled "show
me the money."

QO. Does the statement "show me the
money" in connection with fantasy football
suggest that fantasy football participants
have a financial interest in the outcome?

MR. DREYER: Objection; lack of

foundation, calls for speculation.

A. Not to me, no.
QO. What does it suggest to you?
A. There's a movie--I'm not sure if

Jerry O'Connell was in it--with Tom Cruise
about an agent. And when the player did
really well, it was "show me the money, show
me the money," because he had a great season.
My guess is that would be a reference to that
movie, which I am embarrassed to admit I
forget the name of right now.

MR. DREYER: Let the record reflect

the witness is referring to Jerry

McGuire.

 

 

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THE WITNESS: Thank you, Jerry
McGuire.

Q. And in the Jerry McGuire movie, the
player who wants to be shown the money wants a
big contract, correct?

A. That's correct.

QO. He wants, in effect, a financial
prize for his performance, correct?

MR. DREYER: Objection to the form
of the question.

A. He wants a contract as a result of
his efforts for the year, yes.

(Exhibit 32: NFL.com article, was
marked for identification.)

MR. DREYER: Same objection with
respect to use of documents not produced
by counsel.

QO. Mr. Ferazani, you've been handed a
document marked Exhibit 32. This also is a
printout from NFL.com. And do you see the
statement in the middle of the document that
Says: Fantasy - trash or treasure?

A. Yes, I see that.

Q. Do you know what that refers to?

 

 

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A. Reviewing this for the first time
as I sit here today, I'm guessing. I don't
want to guess.

MR. DREYER: Don't guess.

QO. Do you see the statement underneath
Fantasy - trash or treasure, that says:
Fantasy guru, Michael Fabiano, joins NFL AM to
share which Week 1 surprise fantasy studs are
trash and which are treasure?

A. That's what that says, yes.

Q. And you understand that that means
that Mr. Fabiano is going to discuss the
players who scored a lot of fantasy points
during week one?

MR. DREYER: Objection; lack of

foundation, calls for speculation.

QO. Do you understand that?
A. I would be speculating.
Q. Bo you understand that Mr. Fabiano

is going to be labeling some NFL football
players as trash and some as treasure?
MR. DREYER: Same objection; lack
of foundation, calls for speculation.

A. I don't know who Mr. Fabiano is and

 

 

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I don't want to speculate.

Q. If someone on the NFL Network is
referring to NFL football players as trash, is
that consistent with developing the bonds of
loyalty between a fan and his team?

A. I think any time you put on sports
radio a debate about which players are better
than others is the essence of sports and what
sports fans do. They debate who is the best
you know, wide receiver of all time, who's the
best quarterback of all time, other sports’
pitchers.

The essence of sports is healthy
competition not only among teams but, as I've
alluded to, fantasy football enhances fans’
understanding and appreciation of individual
athletes on teams other than those they
normally would follow geographically. So the
fact there would be a debate about which
player's better than others and despite the
hyperbole and the words "trash" and
"treasure," that's consistent with the essence
of a sports debate,

Q. Mr. Ferazani, has there ever been a

 

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANT
violation of the League's gambling policy that
involved fantasy football?

A. Not to my knowledge.

Q. Was there an instance several weeks
ago where a replacement referee told LeSean
McCoy that he wanted him to perform well for
the replacement referee's fantasy football
team?

A. I'm not aware of such episode at

{Exhibit 33: Slide deck
Professional League Sports Wagering
Summit September 2012 (#PLAINTIFFS’
00002301-318), was marked for
identification.)
BY MR. SIGLER (continuing):

Q. Mx. Ferazani, you've been handed a
document marked Exhibit 33. Please take a
look at the document and tell me whether you

recognize it.

A. Generally I do, yes.
Q. What is this document?
A. This was a slide deck presented at

the Professional League Sports Wagering Summit

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held in September of 2012. I believe this was
presented by the NCAA.
Q. Were you present at that summit?
A. I owas present for parts of that

summit, yes.

Q. It was a two-day summit; is that
correct?

A. It was, yes.

Q. Were you present for one of the two

days or parts of the two days?

A. Part of one day. I did not attend
the day held at baseball.

Q. So you were present for September
12th; is that correct?

A. Part of that day. Part of the
benefit of having it in the National Football
League office means I could bounce upstairs if
I needed to.

Q. And you were present for the NCAA
presentation that's reflected in Exhibit 33?

A. I believe I was present for part of
this, yes.

Q. Did you get a copy of this

document, Exhibit 33, at the summit?

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HIGHLY CONFIDENTIAL - L. FERAZANI

A. I think we did receive it. I'm not
sure. I know it was presented by slides.

Q. Who else from the NFL was present
at the summit?

A. There were people that were
present, again, for parts of the summit: Jeff
Pash, our general counsel gave the opening
remarks. That's P-A-S-H. Dave Gardi was
present, G-A-R-D-I, was present for part of
the summit. Dina Garner, G-A-R-N-E-R, from
our player engagement group was present for
part of the summit or most of the summit.
Adolpho Birch was present for part of the
summit.

I believe there may have been other
members of our security department there as
well.

Q. Did someone from the NFL give a

presentation, other than Mr. Pash's opening

remarks?
A. I did.
Q. And what did you give a

presentation on?

A. The Delaware sports case.

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Q. Did you have a written PowerPoint

presentation?

A. I believe I did.

Q. Do you still have it?

A. If I did, I would, yes.

Q. Did anyone give any presentations

at the summit that incorporated any consumer
surveys or studies about sports gambling and
the impact on fans?

A. I know the -- and I haven't gone
through these slides in a while. The NCAA
was, when I was present, the only group that
gave any -- reported on any studies.
Everything else was anecdotal or policy
driven.

Q. Can you turn with me, please, to

the page with the Bates number 2307 at the

bottom.
A. Yes.
Q. And do you see that this page

reflects results of the NCAA's study regarding
fantasy sports participation?
A. I see that.

Q. Do you recall this part of the

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NCAA's presentation?

A. I do not.

Q. De you see at the bottom of the
page there's a list of fantasy sports played
by student athletes that reported
participation in the last 12 months?

A. I see that slide, yes.

Q. And do you see that, of the males,
64.4 percent reported playing the NFL?

A. I see that, yes.

Q. Has the NFL ever had any
discussions with the NCAA about fantasy
football and its impact on student athletes?

A. Not that I'm aware of.

Q. At this summit did the NCAA raise
any concerns about fantasy football and its
impact on student athletes?

A. Not to me and not to my knowledge.
I'm not sure what the spoken aspect to these
slides were, but nothing that I can recall.

Q. Are you aware that the NCAA views
fantasy football as a violation of its
gambling policies?

MR. DREYER: Objection to the form

 

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of the question.
A. Iwas not aware of that, no.
MR. SIGLER: Let's take a break.
MR. DREYER: Sure.
(Recess taken: 4:43-4:56 p.m.)
{Exhibit 34: Merriam-Webster
dictionary definition of "gamble", was
marked for identification.)
BY MR. SIGLER (continuing):

Q. Mr. Ferazani, you've been handed a
copy of a document marked Exhibit 34 which is
a printout from Merriam-Webster Online of the
definition of the word "gamble." Please take
as much time as you need to review it. My
first question is going to be whether you
agree with the definition.

MR. DREYER: My objection is to the
use of documents not previously produced.

T'm not sure what 30{(b) (6) topic this is

relevant to. The witness can testify as

to his understanding. I'm not sure what
the relevance is either, but that's
another issue. You can answer as you're

able.

 

 

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A. As I've explained, I think to play
a game for money or property as set forth in
the first section is not specific enough or
broad enough. You know, I accept this, what
Merriam-Webster defines gambling as. It's a
different standard as to what's legal versus
illegal. Fantasy football has been found not
to be -- or pursuant to federal law and state
law, is not illegal gambling.

Q. Some gambling is legal and some is
illegal, correct?

A. True, yes.

Q. So let me ask my question again
just to make sure we're not talking past each
other: Do you agree or disagree with the
definition of gamble set forth here from
Merriam-Webster? And let's Focus on the l{a)
definition.

MR. DREYER: Objection to the form
of the question. Agree or disagree with
the definition? I don't even know what
that means. You can answer.

A. I don't know.

Q. What don't you understand about the

 

 

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question?

A. This is what Merriam -- I will take
your representation that this is how Merriam-
Webster defines gambling.

Q. De you agree with this definition?

MR. DREYER: Objection to the form
of the question.

A. To play a game for money or
property. No, because that also fits the
definition of what our football players do:
They play football for money. So to that
extent, they are not gambling. I don't think
this definition is specific enough for this
context.

Q. Do you agree with the l(b)
definition of gamble to bet on an uncertain
outcome?

MR. DREYER: Same objection.

A. To bet on an uncertain outcome.
Well, since the word "bet" is contained within
the definition, this is kind of a circular
exercise. Bet and gamble in my world are
synonymous.

Q. All right. What about definition

 

 

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HIGHLY CONFIDENTIAL - L. FERAZANI
number two, to stake something on a
contingency?
MR. DREYER: Objection to the form

of the question.

A. To stake something on a
contingency. I'm not sure what that means.

Q. Mr. Ferazani, other than the
studies we've discussed today, are you aware
of any other studies by the NFL regarding the
impact of sports gambling on the NFL or its
teams?

MR. DREYER: Objection to the form
of the question. You can answer.

A. In addition to the studies and the
ongoing study that the NFL engages in in
making any business decision, none that I can
recall as I sit here at the end of the day.

Q. Are you aware of any other written
studies regarding the impact of sports
gambling on the NFL or its teams?

MR. DREYER: Same objection. You
can answer.

A. As I sit here today, I can't

provide any other list, although to be honest,

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HIGHLY CONFIDENTIAL - L. FERAZANT
other state is no different. The fact that
New Jersey is seeking to violate federal law
by permitting sports gambling which would, by
New Jersey's own representation, involve
advertising, promoting sports gambling which
would logically increase the amount of
gambling on our games, is detrimental to our
relationship with our fans for all the reasons
I've previously testified.

Q. The NFL does not have any written
studies or analyses regarding the impact or
potential impact of legalized sports gambling
in New Jersey on the NFL or its teams,
correct?

A. I would contend that the, you know
-- we've reduced this to writing by our
statements in support of PASPA, by our
testimony in support of that law, by the
Complaint that we filed in Delaware, by the
Complaint that we filed in this case. Those
are all reflective of the ongoing
understanding of the NFL's business model and
the relationship we have with our fans.

If there is -- if you're asking is

 

 

 

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I'm not sure that I can recite every study
that we discussed or every document we've
discussed for the past five hours and change.
But I can't add anything to the list off the
top of my head right now.

Q. The NFL does not have any studies
regarding the impact or potential impact of
legalized sports gambling in New Jersey on the
NFL or its teams, correct?

MR. DREYER: Objection, asked and
answered.

A. As we discussed at the beginning of
this deposition when I was much fresher, every
day the NFL makes decisions based upon its
experience, both from observations of other
leagues, its own history and its analysis of
its business model, which is protecting the
shield, ensuring the integrity of our game and
making decisions based upon potential events
or activity which may or may not present a
risk to the integrity of our game and our
relationship with our fans.

So New Jersey is no different. In

the analysis regarding New Jersey versus every

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HIGHLY CONFIDENTIAL - L. FERAZANI
there a report summarizing data that we
collected from New Jersey voters or those that
do not have a stake in the NFL and its game, I
don't have any such study. But I would submit
that our activity in this case and our history
shows we have studied the issue and that our
study has resulted in the conclusion that it
is detrimental to our game.

Q. Mr. Ferazani, have you issued hold
notices to the people at the NFL most likely
to have relevant information?

A. Yes, I did.

Q. And are you aware of any relevant
documents being destroyed or deleted or thrown
away?

A. No. That would be in violation of
the hold notice and our practice.

Q. Did you gather documents from
everyone in the research group that includes
Ms. Rankin?

MR. DREYER: Objection to the form
of the question. You can answer.

A. Yes. And I discussed with

Ms. Rankin what we were seeking and made sure

 

 

 

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that she canvassed sufficiently.

Q. Did you get documents from
Mr. Mummery?

MR. DREYER: Counselor, let me just
make it clear because I know you didn't
participate in any discussions with the
Court. There was a 30(b) (6) topic on
data collection and we objected, the
judge struck it. So I'll give you a
little bit of leeway without waiving any
privilege.

But, again, this is another area
the court has foreclosed. So you have
our objection.

A. Yes, I did.

MR. SIGLER: Okay. I think we're
done, with the proviso that we reserve
our right to revisit the deposition, to
continue the deposition in light of the
deficiencies that we've identified as
well as any we haven't yet identified in
the NFL's document production.

But having said that, we're done

for the day today.

 

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MR. DREYER: Just so you have our
position, which is that the NFL has
complied with its obligations and there
are no deficiencies, discovered or
undiscovered, in connection with this
case. We can go off the record with
that,

(Time noted: 5:06 p.m.)

 

 

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STATE OF NEW YORK )

COUNTY OF NEW YORK

I, LAWRENCE P. FERAZANI, JR., the
witness herein, having read the foregoing
testimony of the pages of this deposition, do
hereby certify it to be a true and correct
transcript, subject to the corrections, if any

shown on the attached page.

LAWRENCE P. FERAZANI, JR.
Sworn and subscribed to
before me this day

of 2012,

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“HIGHLY CONFIDENTIAL" REQUEST (S)
(Page:Line): 86:2, 176:8

INSTRUCTIONS BY COUNSEL NOT TO ANSWER
(Page:Line): (NONE)

REQUEST FOR DOCUMENTS /INFORMATION
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EXHIBITS

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1250 BROADWAY
NEW YORK, NEW YORK 10001
800-362-2520

CASE: NCAA, ET AL. VS. CHRISTIE, ET AL.
DEPOSITION DATE: NOVEMBER 5, 2012
DEPONENT: LAWRENCE P. FERAZANI, JR.

PAGE LINE (S) CHANGE REASON

LAWRENCE P. FERAZANI, JR.

SUBSCRIBED AND SWORN TO BEFORE ME
THIS DAY OF , 20 .

 

{NOTARY PUBLIC) MY COMMISSION EXPIRES:

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CERTIFICATION

I, Sherri Flagg, a Registered
Professional Reporter, Certified LiveNote
Reporter, and a Notary Public, do hereby certify
that the foregoing witness, LAWRENCE P. FERAZANI,
JR., was duly sworn on the date indicated and
that the foregoing is a true and accurate
transcription of my stenographic notes.

I further certify that I am not
employed by nor related to any party to this
action.

Dated this 7th day of November, 2012.

Sherri Flagg, RPR, CLR

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